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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - x
In re:                          :
                                :
THE ROMAN CATHOLIC DIOCESE OF   :
ROCKVILLE CENTRE, NEW YORK,     :
                                :
Debtor.                         :
- - - - - - - - - - - - - - - - x

              MAGNA Deposition of CHARLES MOORE, taken
on Tuesday, June 27, 2023, held at the Law Firm of
Jones Day, 250 Vesey Street, New York, New York,
commencing at 11:01 a.m., before Jamie I. Moskowitz,
a Certified Shorthand Reporter and Certified
Livenote Reporter.
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 1   A P P E A R A N C E S:                                 1                           E X H I B I T S
 2                                                          2
     PACHULSKI STANG ZIEHL & JONES
 3   BY: ALAN J. KORNFELD, ESQUIRE                              EXHIBIT NUMBER          DESCRIPTION                       PAGE
     akornfeld@pszjlaw.com                                  3
 4   BY: BRITTANY MITCHELL MICHAEL, ESQUIRE                     Exhibit-1           Expert Report of C. Moore               7
     bmichael@pszjlaw.com
 5   780 3rd Avenue - 34th Floor                            4
     New York, New York 10017                                   Exhibit-4           Disclosure Statement                   48
 6   212.561.7700                                           5
     Counsel for the Official Committee of Unsecured
 7   Creditors                                                  Exhibit-2           Affidavit                             100
 8                                                          6
     PACHULSKI STANG ZIEHL & JONES                          7
 9   BY: TAVI C. FLANAGAN, ESQUIRE
     tflanagan@pszjlaw.com                                  8   *Exhibits are marked in the order they were received
10   10100 Santa Monica Boulevard - 13th Floor              9   *Exhibits are maintained in Agile Law
     Los Angeles, California 90067-4003                    10
11   310.277.6910
     Counsel for the Official Committee of Unsecured       11
12   Creditors                                             12
13
                                                           13
     JONES DAY
14   BY: ERIC P. STEPHENS, ESQUIRE                         14
     epstephens@jonesday.com                               15
15   250 Vesey Street
                                                           16
     New York, New York 10281
16   212.326.3939                                          17
     Counsel for the Roman Catholic Diocese of             18
17   Rockville Centre
18   ALSO PRESENT:                                         19
19   TAVI C. FLANAGAN                                      20
     Paralegal for Pachulski Stang Ziehl & Jones           21
20
21                                                         22
22                                                         23
23                                                         24
24
25                                                         25


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 1                 * * *                                    1   today?
 2            CHARLES MOORE, after having been first        2       A      Yes, Eric Stephens and Anoop -- I'm
 3      duly sworn, was examined and testified as           3   not even going to try to pronounce Anoop's last
 4      follows:                                            4   name -- both with Jones Day.
 5                 * * *                                    5       Q      I'm not gonna go through most of the
 6   EXAMINATION BY MR. KORNFELD:                           6   deposition rules given the counsel that you have and
 7      Q      Good morning. Would you state your           7   your experience. Just one thing to keep in mind
 8   full name for the record, please?                      8   since we're remote, I'm gonna do my best to let you
 9      A      Good morning. My name is                     9   finish your answers before I ask my next question.
10   Charles Moore, M-o-o-r-e.                             10   If you could do your best to let me finish my
11      Q      Mr. Moore, have you been deposed            11   questions before you give your answer.
12   before?                                               12            Is that okay with you?
13      A      Yes, I have.                                13       A      Yes.
14      Q      Approximately how many times?               14       Q      Let's publish your report, which is
15      A      I'm gonna estimate 15 to 20 times in        15   Exhibit 1 marked for this deposition.
16   terms of total testimony. Just from a deposition      16            Do you have that in front of you
17   standpoint, probably 10 times.                        17   Agile Law?
18      Q      So 10 times in deposition, 5 to 10 in       18       A      I do.
19   court?                                                19       Q      Let me authenticate that.
20      A      Yes, that would be about right.             20            Is Exhibit 1 the expert report that
21      Q      Is there any reason you can't give          21   you have prepared and provided in this case?
22   complete, accurate and truthful testimony here        22            (Whereupon, Exhibit 1 was marked for
23   today?                                                23       Identification.)
24      A      No.                                         24            THE WITNESS: Yes, this appears to be
25      Q      Is there anybody in the room with you       25       my expert report.

                                                      8                                                           9
 1   BY MR. KORNFELD:                                       1      A     No, I have not.
 2       Q      You said it "appears to be."                2      Q     Are all the opinions that you intend
 3             Do you have any reason to believe that       3   to provide at the evidentiary hearing on July 10th
 4   it is not?                                             4   and 11th opinions that are contained in your report
 5       A      I do not.                                   5   marked as Exhibit 1?
 6       Q      Let's turn to Page 3 of your report,        6      A     Yes.
 7   and I want to call your attention to the paragraph     7      Q     Let's go to your report at Page 25,
 8   marked D, which is "Report Qualifications."            8   please.
 9             Let me know when you're there.               9      A     Okay.
10       A      I'm there.                                 10      Q     Why don't you take a look at the
11       Q      The first sentence of Paragraph D says     11   paragraph headed "Reservation of Rights"? I'm gonna
12   that the information in this report is presented as   12   have a couple of questions for you regarding the
13   of the date of this report."                          13   points you make in that paragraph.
14             Is the date of your report                  14      A     Okay.
15   April 17, 2023?                                       15      Q     In that paragraph, you say, in sum and
16       A      Yes.                                       16   substance, that you reserve the right to supplement
17       Q      The second sentence of Paragraph D of      17   your opinion should further information be produced.
18   the report provides, "Opinions and conclusions        18           Have you supplemented the opinions
19   expressed herein are subject to change based on       19   contained in your report that has been marked as
20   additional data, facts and information that may be    20   Exhibit 1?
21   received subsequent to the date of this report."      21      A     I have not.
22             My question, sir, is, have you              22      Q     In that second sentence that begins,
23   received any additional data, facts and information   23   "I reserve the right," you also say that you're
24   that caused you to change the opinions in your        24   "reserving the right to respond to any expert
25   report, which has been marked as Exhibit 1?           25   opinions offered by or on behalf of the parties to




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 1   this matter."                                           1   $40 million. That is new information to me since
 2             Are you offering an expert opinion in         2   the time I published this report.
 3   response to any opinions offered by the committee's     3       Q       Have you received any other
 4   expert?                                                 4   information?
 5      A       I am not.                                    5       A       From time to time, I get updates on
 6      Q       You also say in the last sentence of         6   claims that exist in the case. Again, it does
 7   the first paragraph under "Reservation of Rights,"      7   not -- that information does not impact my opinions
 8   that, "This report is therefore subject to change or    8   in this report.
 9   modification should additional relevant information     9       Q       Was last night the first time you
10   become available that bears on the analyses,           10   became aware that the parish and affiliate
11   opinions or conclusions contained therein."            11   contribution was $40 million?
12             Have you modified or changed your            12             MR. STEPHENS: And I will just caution
13   report in any way since April 17, 2023?                13       the witness not to reveal anything you learned
14      A       I have not.                                 14       in the course of parties' mediation.
15      Q       Have you received additional relevant       15             So if you can answer without revealing
16   information that bears on the analyses, opinions or    16       what you learned in connection with the
17   conclusions contained in your report?                  17       mediation, please answer.
18      A       I have received additional                  18   BY MR. KORNFELD:
19   information, but they have not changed my opinions     19       Q       It's a yes or no, and the 40 million
20   contained in this report.                              20   was disclosed to the opposition, but you may answer.
21      Q       What additional information have you        21       A      In the objection, that was not the
22   received, first, in general?                           22   first time that I had heard that the parish
23      A       In the debtor's objection to the            23   contribution was at least $40 million.
24   motion to dismiss that was filed last night, it        24       Q       When was the first time you heard
25   references a contribution from parishes of at least    25   that?

                                                      12                                                          13
 1      A      In mid to later May 2023.                     1      A      Yesterday.
 2      Q      Did you hear that at a mediation?             2      Q      How long did the meeting last?
 3      A      Yes, sir.                                     3      A      I believe that meeting went about
 4      Q      As of April 17, 2023, the date of your        4   2-and-a-half hours.
 5   report, do you recall what the parish contribution      5      Q      Who were the attorneys that were
 6   was?                                                    6   present?
 7      A      At that point, it was $11.1 million.          7      A      Eric Stephens, Todd Geremia and Anoop.
 8      Q      You said the additional information           8      Q      Who was present from A & M at that
 9   that you received, in general, since April 17, 2023,    9   meeting?
10   was the contribution had increased from 11.1 to        10      A      Besides myself, Andrew Ciriello.
11   $40 million. You also received updates on claims.      11      Q      Anybody else?
12            Did you receive any other additional          12      A      No, sir.
13   information that bears on the analyses, opinions or    13      Q      You said you also met with some of
14   conclusions contained in your report?                  14   your colleagues at A & M.
15      A      No, sir.                                     15            When was that meeting or meetings?
16      Q      What did you do to prepare for your          16      A      The meeting that I referred to was
17   deposition here today?                                 17   yesterday with counsel. That was Andrew Ciriello,
18      A      I reread my report. I reviewed a             18   and then I had a couple of calls with Mr. Ciriello
19   number of the documents that are listed in the         19   as well.
20   exhibit documents that are -- that I relied upon. I    20      Q      When did those calls take place?
21   met with attorneys from Jones Day. I had a meeting     21      A      I had a call with Mr. Ciriello this
22   with one of my colleagues from Alvarez & Marsal and    22   past Saturday, which would have been June 24th, and
23   had a few calls with that colleague.                   23   another call with Mr. Ciriello yesterday.
24      Q      When was your preparation for                24      Q      In the calls with Mr. Ciriello without
25   deposition meeting with attorneys from Jones Day?      25   Jones Day being present, what did you discuss?




                                                                                    4 (Pages 10 to 13)
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 1   Let's take the Saturday call first.                     1   BY MR. KORNFELD:
 2       A      The Saturday call revolved around a          2       Q     Let's go to your Opinion Number 1, and
 3   few of the assumptions that were used in the            3   that is on Page 3 of your expert report, which has
 4   dismissal or liquidation analysis. I don't recall       4   been marked as Exhibit 1.
 5   specifically which assumptions. And similarly, my       5       A     I'm there.
 6   call with Mr. Ciriello yesterday related to             6       Q     For the record, would you tell us what
 7   assumptions in the business plan projections.           7   is your Opinion Number 1?
 8       Q      What do you recall about the                 8       A     You would like me to read that into
 9   assumptions that were discussed on Saturday?            9   the record?
10       A      I don't recall specifically which           10       Q     I think that would be fine. For those
11   assumptions we discussed.                              11   who are reading the transcript without the report,
12       Q      Yesterday, what assumptions were            12   that's helpful.
13   discussed with Mr. -- I'm going to butcher his         13       A     Opinion Number 1 is, "Dismissal of the
14   name -- Ciriello?                                      14   Chapter 11 case will result in a lower recovery for
15       A      Yes, that's correct.                        15   many creditors than a confirmed plan of
16            The assumptions discussed in                  16   reorganization, making a plan of reorganization a
17   yesterday's call related to some of the changes in     17   better outcome for creditors than dismissal."
18   fiscal year 2024 for the business plan projections     18       Q     In connection with Opinion Number 1,
19   included in Opinion Number 2 for both the              19   did you estimate the value of the debtor's assets
20   administrative office and PSIP.                        20   that may be available to claimants if the case is
21            (Whereupon, the court reporter                21   dismissed?
22       requested clarification.)                          22       A     Yes.
23            THE WITNESS: Yes, P-S-I-P. That               23       Q     What methodology did you use to make
24       stands for "protected self-insurance plan."        24   that estimation?
25                                                          25       A     I used the preparation of a

                                                      16                                                         17
 1   liquidation analysis to estimate that.                  1      A      Yes.
 2       Q       What is a "liquidation analysis"?           2      Q      Have you worked with the vicar
 3       A       A liquidation analysis is an analysis       3   general?
 4   that attempts to estimate the potential amount of       4      A      Yes.
 5   proceeds that may be available as of a specific         5      Q      Have you worked with chief operating
 6   date.                                                   6   officer and general counsel?
 7       Q       You've been advising the debtor since       7      A      Yes.
 8   2018; is that correct?                                  8      Q      Have you worked with other members of
 9       A       Our -- the Alvarez & Marsal engagement      9   the debtor's senior management team?
10   letter is dated December of 2018. I believe work       10      A      Yes.
11   began in earnest in January of 2019.                   11      Q      Have any of those members of the
12       Q       And Alvarez & Marsal has been the          12   debtor's senior management team told you that the
13   debtors' financial advisor in this case from the       13   debtor would liquidate if the court grants the
14   very beginning of the case, October 1st, 2020; is      14   committee's motion to dismiss?
15   that correct?                                          15      A      No.
16       A       Yes.                                       16      Q      Have you seen any emails from any
17       Q       During your experience with the            17   member of the debtor's senior management in which,
18   debtor, have any debtor personnel ever told you that   18   in sum or substance, they wrote that if the court
19   the debtor intended to liquidate?                      19   granted the motion to dismiss, the debtor would
20       A       No, I don't believe so.                    20   liquidate?
21       Q       You've worked closely with the             21      A      No.
22   debtor's senior management over the years, correct?    22            MR. KORNFELD: Excuse me for one
23       A       Yes.                                       23      minute. There is somebody whose name is, I
24       Q       You've worked with the bishop,             24      think, Mike Hogan?
25   correct?                                               25            THE COURT REPORTER: Do you want me to




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 1       leave this off the record?                          1       A      I do recall, in at least one
 2             MR. KORNFELD: You can leave this off          2   conversation, that concept being thrown out, not
 3       the record.                                         3   specifically related to if the motion to dismiss is
 4             (Whereupon, a discussion was held off         4   granted, but as a scenario that the debtor could
 5       the record.)                                        5   face.
 6             MR. KORNFELD: Let's go back on,               6       Q      When was that meeting where that
 7       please.                                             7   concept was thrown out?
 8             THE COURT REPORTER: Sure.                     8       A      I believe that was in the last
 9   BY MR. KORNFELD:                                        9   three months or thereabouts.
10       Q       Do you expect that the debtor will         10       Q      Did the debtor's -- did any member of
11   liquidate in the event that the court grants the       11   the debtor's senior management tell you that that
12   motion to dismiss?                                     12   was a scenario that the debtor expected to be
13       A      As I indicate at the bottom of Page 3       13   realistic?
14   in my report, it's not expected that the debtor        14       A      No.
15   would liquidate. However, I don't have an opinion      15       Q      Did anybody who was a member of the
16   as to whether that would happen or not.                16   debtor's senior management tell you the liquidation
17       Q       Do you have a reason to believe that       17   scenario was a scenario that the debtor viewed as
18   the debtor would liquidate in the event the court      18   being in its interest?
19   grants the motion to dismiss?                          19       A      No.
20       A      I could see a scenario where if enough      20       Q      Did anybody from the debtor's senior
21   judgments were obtained against the debtor outside     21   management tell you that the debtor would liquidate
22   of Chapter 11, that it could be forced to liquidate.   22   if the motion to dismiss was granted?
23       Q       Has anybody who is part of the             23       A      No.
24   debtor's senior management told you that the debtor    24       Q      So as far as you know, the diocese
25   might have to liquidate based on that scenario?        25   will continue to operate outside of Chapter 11 if

                                                      20                                                          21
 1   the motion to dismiss is granted; is that correct?      1   not necessarily a liquidation, but the approach of
 2       A      I don't make an opinion or have an           2   using a liquidation analysis is to get at what you
 3   opinion as to how the diocese would operate outside     3   just indicated, which is an estimation of the amount
 4   of a Chapter 11.                                        4   of assets that may be available to creditors outside
 5       Q      Did anybody who is part of the diocese       5   of a Chapter 11 filing.
 6   tell you that the debtor would not operate outside      6      Q       I appreciate that long answer, sir,
 7   of Chapter 11 if the motion to dismiss was granted?     7   but that's not my question. Let me ask my question
 8       A      No.                                          8   again, and let's see if you can answer that
 9       Q      Did you read any documents, ever, that       9   question.
10   said if the motion to dismiss was granted, the         10             Did you analyze the value of assets
11   debtor would not operate outside of Chapter 11?        11   that would be available for creditors outside of
12       A      No.                                         12   Chapter 11 if the motion to dismiss was granted and
13       Q      Did you attend any meetings where           13   the debtor continued to operate?
14   anybody said if the motion to dismiss was granted,     14             MR. STEPHENS: Objection, asked and
15   the debtor would not operate outside of Chapter 11?    15      answered.
16       A      No.                                         16             THE WITNESS: Yes.
17       Q      Did you analyze the value of assets         17   BY MR. KORNFELD:
18   that would be available for creditors outside of       18      Q       Where is that analysis?
19   Chapter 11 if the motion to dismiss was granted and    19      A       That's in this liquidation analysis.
20   the debtor continued to operate?                       20      Q       So you did a -- the liquidation
21       A      I believe that the liquidation              21   analysis makes assumptions, doesn't it?
22   analysis, as I highlight in my report, is a            22      A       Yes.
23   reasonable proxy for the amount of assets of the       23      Q       The liquidation assumes that if the
24   debtor's that would be available outside of a          24   motion to dismiss was granted, the debtor would
25   Chapter 11. So my report makes it clear that it is     25   liquidate, correct?




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 1            MR. STEPHENS: Objection.                       1      the debtor would continue to operate or not.
 2            THE WITNESS: Not necessarily. The              2   BY MR. KORNFELD:
 3      debtor realizes proceeds from these assets, but      3      Q       This analysis assumes a liquidation
 4      it does not say that the debtor would no longer      4   that would occur over approximately a 9-month time
 5      operate.                                             5   period, correct?
 6   BY MR. KORNFELD:                                        6      A      A liquidation of these assets, a
 7      Q       But it's a liquidation analysis. A           7   monetization of the assets, but that doesn't
 8   liquidation analysis means the debtor is                8   necessarily mean that the debtor would no longer
 9   liquidating, correct?                                   9   operate.
10            MR. STEPHENS: Objection.                      10      Q       What's -- could you read into the
11            THE WITNESS: No, that is not correct,         11   record, please, on Page 5 of your report the first
12      and that's not how I use this in my report. I       12   sentence of the first full paragraph that begins, "I
13      make it clear that my goal is to estimate the       13   have assumed"?
14      proceeds that may be available to creditors.        14      A      "I have assumed that the liquidation
15      And I use a liquidation analysis to do that, to     15   would occur over an approximately 9-month time
16      estimate those proceeds as of a particular          16   period."
17      point in time.                                      17      Q       That was an assumption you made,
18   BY MR. KORNFELD:                                       18   correct?
19      Q       Did you estimate the proceeds that          19      A      Yes.
20   would be available if the debtor continued to          20      Q       Did you assume that the debtor would
21   operate?                                               21   operate after that 9-month period?
22            MR. STEPHENS: Objection, asked and            22      A      I did not distinguish between whether
23      answered.                                           23   the debtor would continue to operate or not after
24            THE WITNESS: As I indicated, this             24   that time period.
25      analysis doesn't distinguish between whether        25      Q       Did you prepare any analyses about

                                                      24                                                          25
 1   what would happen to the debtor after that 9-month      1   liquidation occurs over an approximately 9-month
 2   period?                                                 2   time period, correct?
 3      A       I did not.                                   3      A       One thing to distinguish,
 4      Q       So after that 9-month period, based on       4   Mr. Kornfeld, is what I'm referring to here is a
 5   your analyses in your report, the debtor would not      5   liquidation of certain assets in order to realize
 6   continue to operate, correct?                           6   proceeds. I do not say specifically that the whole
 7             MR. STEPHENS: Objection.                      7   debtor entity would liquidate.
 8             THE WITNESS: No. I don't say that             8      Q       How would the debtor continue to
 9      specifically one way or another.                     9   operate if the assets that you show as being
10   BY MR. KORNFELD:                                       10   liquidated were, in fact, liquidated?
11      Q       But you don't -- you don't have any         11      A       The debtor has, as its mission, to
12   projections or calculations or analyses that show      12   essentially carry out the Catholic teachings and the
13   the debtor operating after that 9-month period in      13   mission of caring for others in this specific
14   your report, do you?                                   14   geographic area. It could continue to do that after
15      A       I do, but not in the context of             15   realizing on these assets. There is not a set
16   continuing to operate assuming a dismissal occurs.     16   amount of assets or a set operation that would be
17      Q       So you don't have any of those              17   required for it to continue, at least that's from my
18   analyses in the context of the debtor assuming to      18   standpoint.
19   operate if a dismissal occurs.                         19      Q       So you used liquidation analysis in
20             Did I understand you correctly?              20   your report even though you expect the debtor to
21      A       Just to be clear, what I have               21   continue to operate; is that correct?
22   estimated here is the amount of proceeds that may be   22      A       No. As I've indicated, I don't have a
23   available to creditors as of a specific point in       23   view, and I don't express an opinion as to whether
24   time if the case is dismissed.                         24   the debtor would continue to operate or not.
25      Q       If the case is dismissed and                25      Q       I asked you if you expected that the




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 1   debtor would continue to operate.                       1       A       Going back to some of the questions
 2       A      And I believe that I responded, I            2   that you asked previously, it has not been a topic
 3   don't have a view one way or another.                   3   that has been discussed previously. I mentioned it
 4      Q       Is it true that it -- that it's not          4   came up in one conversation. However, what I am not
 5   expected that the debtor would be liquidated if the     5   taking a position on is whether that would happen or
 6   case is dismissed?                                      6   not.
 7       A      I don't know that.                           7             I think, because of the fact that it
 8      Q       Let's take a look at your report,            8   hasn't been discussed so far, that doesn't
 9   second line from the bottom on Page 3.                  9   necessarily mean that it won't happen. However, as
10            You wrote in the beginning of the             10   I continue on, following that sentence, the whole
11   sentence that begins "While," "While it is not         11   purpose is to say the liquidation analysis is meant
12   expected that the debtor would be liquidated if the    12   to estimate proceeds as of a specific point in time,
13   case is dismissed" -- let me stop there and ask you,   13   not to make a determination as to whether the debtor
14   do you expect the debtor to be liquidated if the       14   itself would liquidate.
15   case is dismissed?                                     15       Q      My question, sir, is a yes or -- yes
16       A      I don't take a position one way or          16   or no question.
17   another.                                               17             Do you expect the debtor to liquidate
18      Q       Okay. The debtor does not expect to         18   if the case is dismissed?
19   liquidate if the case is dismissed, correct?           19             MR. STEPHENS: Objection, asked and
20       A      That has not been a discussion that         20       answered.
21   I've been a part of.                                   21             THE WITNESS: I have not taken any
22      Q       But you wrote in your report, "It is        22       position on that.
23   not expected that the debtor would be liquidated if    23   BY MR. KORNFELD:
24   the case is dismissed."                                24       Q      Does the debtor expect to liquidate if
25            Why did you write that?                       25   the case is dismissed?

                                                      28                                                          29
 1            MR. STEPHENS: Same objection.                  1   been marked as Exhibit 17 -- I'm sorry.
 2            THE WITNESS: I don't think that                2            As of the date of your report that has
 3       determination has been made.                        3   been marked as Exhibit 1 -- the date is April 17,
 4   BY MR. KORNFELD:                                        4   2023 -- did you have any reason to believe that the
 5       Q      But you wrote in your report that "It        5   debtor would be liquidated if the case is dismissed?
 6   is not expected that the debtor would be liquidated     6      A      Yes.
 7   if the case is dismissed."                              7      Q      That was the one meeting that you
 8            Is that still your view?                       8   attended where the concept was floated?
 9       A      I haven't been part of conversations         9      A      Plus, just in general, I have been
10   that have discussed that, but that doesn't mean that   10   involved in multiple cases where judgments are
11   those conversations haven't taken place.               11   granted against a company; and as a result of that,
12       Q      My question, sir, is, you wrote in          12   the company eventually then liquidates.
13   your report that "It is not expected that the debtor   13            So it is certainly possible that the
14   would be liquidated."                                  14   debtor could liquidate in that scenario.
15            Is that still your opinion?                   15      Q      Did anybody employed or affiliated
16       A      To be clear, I don't have an opinion        16   with the debtor, tell you that the liquidation
17   as to whether the debtor will liquidate if this case   17   scenario was something the debtor was considering as
18   is dismissed. At the time that I published this        18   a possibility other than in one meeting that you
19   report in mid-April, it was not something that had     19   mentioned?
20   been discussed. I have not been involved in all        20      A      No.
21   discussions that the debtor has had.                   21      Q      As you've said, at least several
22            If the motion to dismiss is granted, I        22   times, you used the liquidation analysis as a
23   certainly would expect that the debtor will monitor    23   reasonable proxy for the value of assets that could
24   what's happening and make a decision at that time.     24   be available for claimants that successfully pursue
25       Q      As of the date of your report that has      25   claims against the diocese outside of Chapter 11; is




                                                                                    8 (Pages 26 to 29)
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 1   that correct?                                           1      it calls for a legal conclusion.
 2       A      Yes.                                         2             You can answer.
 3       Q      And that was your methodology,               3             THE WITNESS: Could you restate the
 4   correct?                                                4      question, please?
 5       A      Using the liquidation analysis as a          5   BY MR. KORNFELD:
 6   proxy for determining the value of assets that could    6      Q       Sure.
 7   be available for claimants, yes.                        7             Has any court ever held that
 8       Q      Yes, that was your methodology.              8   liquidation analysis is a reasonable proxy for the
 9            Did I understand you correctly?                9   value of assets that could be available for
10       A      Just to be clear, you're saying using       10   creditors that successfully pursue claims outside of
11   a liquidation analysis was my methodology?             11   Chapter 11 against an operating debtor whose
12       Q      My question, again, to be clear: Did        12   bankruptcy case was dismissed?
13   you, as your methodology, use the liquidation          13             MR. STEPHENS: Same objection.
14   analysis as a reasonable proxy for the value of        14             THE WITNESS: I would first point out,
15   assets that could be available for claimants that      15      obviously, I don't have visibility to all court
16   pursue claims against the diocese outside of           16      cases.
17   Chapter 11?                                            17             Secondly, in my time in the
18       A      Yes.                                        18      restructuring world, a dismissal of a case is a
19       Q      Has any court ever held, to your            19      fairly rare occurrence. I am not aware of a
20   knowledge, that a liquidation analysis is a            20      situation, as you have described, recognizing
21   reasonable proxy for the value of assets that could    21      those two items that I indicated in my answer.
22   be available for creditors that successfully pursue    22   BY MR. KORNFELD:
23   claims outside of Chapter 11 against an operating      23      Q       You're not aware of any court that has
24   debtor whose bankruptcy case was dismissed?            24   held that your methodology is appropriate, are you?
25            MR. STEPHENS: Objection to the extent         25      A       In your specific context, again, given

                                                      32                                                          33
 1   my response, the answer is no. However, courts          1   whether the plan meets the best interest test,
 2   find, very often, a liquidation analysis is a good      2   correct?
 3   proxy for estimating the amount of proceeds that        3      A       Yes.
 4   could be available to creditors as of a specific        4      Q        What is the "best interest test"?
 5   point in time. And I don't believe that the --          5             MR. STEPHENS: Objection to the extent
 6   whether a case is dismissed or not necessarily has      6      it calls for a legal conclusion.
 7   bearing on that.                                        7             THE WITNESS: From a layperson's
 8      Q       Well, a liquidation analysis is, in          8      standpoint, it is the court assessing whether
 9   fact, used in every Chapter 11 case where a plan of     9      the outcome in the proposed plan of
10   reorganization is proposed, correct?                   10      reorganization is at least as good as what
11      A       Typically, as part of the best              11      creditors would realize or recover if the case
12   interest test, yes.                                    12      was converted to a Chapter 7 and liquidated.
13      Q       Exactly.                                    13   BY MR. KORNFELD:
14             So the liquidation analysis is used as       14      Q        You've seen liquidation analyses for
15   part of the best interest test that is required by     15   those purposes many times in your career, correct?
16   Section 1129(a)(7) of the Bankruptcy Code, correct?    16      A       Yes.
17             MR. STEPHENS: Object to the extent it        17      Q        Have you ever seen a liquidation
18      calls for a legal conclusion.                       18   analysis that was used as a proxy for the value of
19             But you can answer based on your             19   assets that would be available to creditors that
20      experience.                                         20   pursue claims outside of Chapter 11 against
21             THE WITNESS: I am familiar with the          21   operating entities whose Chapter 11 cases were
22      requirements of getting a plan confirmed, yes.      22   dismissed by bankruptcy courts?
23   BY MR. KORNFELD:                                       23      A       Again, I used this as an estimation of
24      Q       So the liquidation analysis is used,        24   proceeds available as a -- as of a specific point in
25   to be clear, in connection with the court evaluating   25   time. That is what is commonly done in a




                                                                                    9 (Pages 30 to 33)
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 1   liquidation analysis, and I don't believe that the      1       A     No.
 2   specifics of the context that you mentioned has any     2       Q     Have you written any articles in which
 3   bearing on this.                                        3   you stated, in sum or substance, that a liquidation
 4      Q       Okay. Well, I don't -- I understand          4   analysis may be used as a reasonable proxy for the
 5   what you don't believe, but please listen to my         5   value of assets that could be available for
 6   question and answer my question. Your counsel will      6   claimants that successfully pursued claims outside
 7   give you an opportunity to talk about your beliefs.     7   of bankruptcy against operating entities whose
 8            My question, sir, is very simple:              8   Chapter 11 cases have been dismissed?
 9   Have you ever seen a liquidation analysis that was      9       A     No.
10   used as a proxy for the value of assets that would     10       Q     Have you read any such articles?
11   be available to creditors that pursue claims outside   11       A     No.
12   of Chapter 11 against operating entities whose         12       Q     You've spoken at numerous
13   Chapter 11 cases were dismissed by bankruptcy          13   conference -- conferences having to do with
14   courts?                                                14   restructuring and bankruptcy, correct?
15            MR. STEPHENS: Objection, asked and            15       A     Yes, I have.
16      answered a number of times.                         16       Q     Have you ever, at any of those
17            Answer again.                                 17   speaking opportunities, stated at a conference that
18            THE WITNESS: No.                              18   a liquidation analysis is a reasonable proxy for the
19   BY MR. KORNFELD:                                       19   value of assets that could be available for
20      Q       Prior to this case, did you ever            20   claimants that successfully pursue claims outside of
21   prepare a liquidation analysis as a proxy for the      21   a Chapter 11 against operating entities whose
22   value of assets that would be available to creditors   22   Chapter 11 cases have been dismissed by the court?
23   that pursue claims outside of Chapter 11 against       23       A     No.
24   operating entities whose Chapter 11 cases were         24       Q     Have you ever heard anybody say that
25   dismissed by the bankruptcy courts?                    25   at a conference?

                                                      36                                                          37
 1      A      No.                                           1      Q      Have you attended numerous American
 2      Q      You're a past president and former            2   Bankruptcy Institute conferences over the years?
 3   member of the board of directors of the Detroit         3      A      I have.
 4   Chapter of the Turnaround Management Association,       4      Q      Are you a member of ABI?
 5   correct?                                                5      A      I am.
 6      A      Yes.                                          6      Q      At any ABI conference, have you heard
 7      Q      Have you ever attended a TMA                  7   any speaker, whether keynote speaker or panel
 8   conference where the subject of a liquidation           8   member, who stated, in sum or substance, that a
 9   analysis being used is a reasonable proxy for the       9   liquidation analysis is a reasonable proxy for the
10   value of assets that could be available for            10   value of assets that could be available for
11   creditors that successfully pursue claims against      11   claimants that potentially pursue claims outside of
12   operating entities whose Chapter 11 cases have been    12   Chapter 11 against operating entities whose
13   dismissed was discussed?                               13   Chapter 11 cases have been dismissed?
14      A      I attended a lot of TMA events and           14      A      Not that I can recall.
15   conferences over the last couple of decades, but I     15      Q      Do you read bankruptcy blogs like
16   don't recall offhand.                                  16   Law360, Reorg, PETITION, et cetera?
17      Q      Do you recall that subject being             17      A      Yes, I do.
18   discussed at any TMA conference?                       18      Q      You pretty much do that every day,
19      A      Not that I recall.                           19   like the rest of us?
20      Q      Have you seen any TMA educational            20      A      Yes, I do.
21   materials where that subject was discussed?            21      Q      Have you seen any blog post that
22      A      Not that I recall.                           22   stated that a liquidation analysis is a reasonable
23      Q      Have you seen any TMA publications           23   proxy for the value of assets that could be
24   where that subject was discussed?                      24   available for claimants that successfully pursue
25      A      Not that I recall.                           25   claims outside of Chapter 11 against operating




                                                                                  10 (Pages 34 to 37)
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 1   entities whose Chapter 11 cases have been dismissed?    1   analysis as part of that.
 2      A       Not that I recall.                           2      Q      What case was that?
 3      Q       Did you read any journals in which the       3      A      Noranda Aluminum.
 4   author of an article said that?                         4      Q      Did the court approve the structured
 5      A       Not that I can recall.                       5   dismissal?
 6      Q       Read any books in which the author           6      A      Yes.
 7   said that?                                              7      Q      What court was that?
 8      A       Not that I can recall.                       8      A      That was Eastern District of Missouri.
 9      Q       Did you attend any seminars where the        9      Q      Did you submit an expert report to
10   participants said that?                                10   that court?
11      A       Not that I can recall.                      11      A      I don't believe so.
12      Q       Did you speak on any panel in which         12      Q      Did you testify regarding the use of a
13   that subject was even discussed?                       13   liquidation analysis as a reasonable proxy for what
14      A       I believe I responded to that before.       14   happens in connection with the dismissal of
15   Not that I can recall.                                 15   Noranda's Chapter 11 case?
16      Q       Is your use of liquidation analysis as      16      A      I don't believe so.
17   a reasonable proxy for the value of assets that        17      Q      Did you give a deposition on that
18   could be available for claimants that successfully     18   subject?
19   pursue claims outside of Chapter 11 against            19      A      I don't believe so.
20   operating entities whose Chapter 11 cases have been    20      Q      Did you provide your liquidation
21   dismissed the very first time that you have seen       21   analysis to the court in that case?
22   that methodology used in the context of a dismissal?   22      A      I believe so.
23      A       I don't know about that. I have been        23      Q      But you didn't testify?
24   involved in a structured dismissal before, and I       24      A      Correct.
25   believe that I may have prepared a liquidation         25      Q      You didn't qualify as an expert in

                                                      40                                                          41
 1   that case, correct?                                     1   to any other party besides the debtor?
 2      A      Correct.                                      2      A      I haven't looked at that case in a
 3      Q       Did the court approve the structured         3   while, so I can't recall. I believe that was filed
 4   dismissal of the Noranda case?                          4   with the court, which would have made it available
 5      A      Yes.                                          5   to other parties, but I don't recall exactly.
 6      Q       Did the court write an opinion               6      Q       But you didn't -- strike that.
 7   approving that structured dismissal?                    7            But the court didn't make any
 8      A      I don't recall.                               8   determination about that liquidation analysis that
 9      Q       Did the court hold that your                 9   you recall, correct?
10   methodology, that is, that a liquidation analysis is   10      A      I don't recall.
11   a reasonable proxy for the value of assets that        11      Q       Did you -- was there any litigation
12   could be available for claimants that successfully     12   about whether that liquidation analysis was an
13   pursued claims outside of bankruptcy against           13   appropriate methodology in that case?
14   operating entities, was appropriate?                   14      A      I don't recall.
15      A      I don't recall.                              15      Q       Did the court in that case say
16      Q       When was Noranda?                           16   anything about your liquidation analysis?
17      A      That case filed in February of 2016,         17      A      I don't recall.
18   and I believe that the structured dismissal was        18      Q       Did anybody in that case say anything
19   October or November of that year.                      19   about whether your liquidation analysis as a
20      Q       The liquidation analysis in that case       20   methodology was appropriate in that case?
21   that you prepared, did you prepare it for the          21      A      I don't recall.
22   debtor?                                                22      Q       Other than this case and Noranda, have
23      A      Yes.                                         23   you ever seen your methodology, that is the use of a
24      Q       Did you provide your liquidation            24   liquidation analysis as a reasonable proxy for the
25   analysis that you prepared for the debtor in Noranda   25   value of assets that could be available for




                                                                                  11 (Pages 38 to 41)
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 1   creditors that successfully pursue claims outside of    1   in the context of evaluating what happens in the
 2   bankruptcy against operating entities, has been         2   event of the dismissal of a Chapter 11 case and the
 3   used?                                                   3   entity that is dismissed continues to operate.
 4       A       No.                                         4            Is that the context you're referring
 5      Q        Have you ever seen anybody other than       5   to?
 6   you use that methodology?                               6       A     I believe that the question that you
 7       A       In the context, specifically, that          7   have continued to ask me is using a liquidation
 8   you're referring to?                                    8   analysis to estimate assets that may be available to
 9      Q        Yes, sir.                                   9   creditors who pursue claims against an operating
10       A       No.                                        10   company whose Chapter 11 case has been dismissed.
11      Q        So as far as you know, you're the          11      Q      That is the context.
12   first and only person to have ever used that           12       A     And in that regard, I'm not aware of
13   methodology, correct?                                  13   any other parties that have used that approach.
14              MR. STEPHENS: Objection.                    14      Q      But that is the approach and
15              You can answer.                             15   methodology that you used here, correct?
16              THE WITNESS: I -- I couldn't say if         16       A     Yes.
17       it's been used by other people or not. I'm not     17      Q      Mr. Moore, I'm about to move on to
18       aware of another instance where that has           18   another topic. We've been going about an hour.
19       happened.                                          19            Do you want a break now, or do you
20   BY MR. KORNFELD:                                       20   want to keep going?
21      Q        You're not aware of anybody else using     21       A     I'm fine to keep going.
22   that methodology, correct?                             22      Q      In preparing the liquidation analysis
23       A       Specifically in the context as you         23   contained in your report, did you, on behalf of the
24   have described it, that's correct.                     24   diocese, estimate the value of projected allowed
25      Q        And the context we're talking about is     25   survivor claims?

                                                      44                                                          45
 1      A      Mr. Kornfeld, you used the word               1   be an agreement on those amounts.
 2   "allowed," and that has a context in Chapter 11.        2             In the end, there is -- I believe you
 3            Are you referring to within Chapter 11         3   used the term an "aggregate value of claims," and
 4   or outside Chapter 11?                                  4   oftentimes those claims are put into classes. And
 5      Q      Now, we're talking about -- I'm               5   so there are claims that exist related to a class.
 6   talking about in doing the liquidation analysis.        6             In this type of case, the value of the
 7   Let's just talk broadly first.                          7   claim is certainly something that is disputed. And
 8            So I'll rephrase the question.                 8   so in this case, we don't -- I don't use a value of
 9            In doing your liquidation analysis,            9   the claims, but I focus more on the number of
10   did you estimate the value of projected survivor       10   claims.
11   claims?                                                11      Q       So using your understanding -- and I
12      A      Could you clarify what you mean by the       12   thank you -- I thank you for that. It's been
13   "value" of survivor claims.                            13   helpful.
14      Q      Sure. Actually, let me ask you, do           14             Did you focus, in any way, on the
15   you understand what "aggregate value of claims"        15   value of the survivor claims that have been filed in
16   means?                                                 16   this case?
17      A      You're using the word "value." I             17       A      Not on the value of survivor claims.
18   understand, especially in mass tort cases,             18      Q       Did you estimate the value of survivor
19   oftentimes there are value estimates that are          19   claims in this case?
20   assigned to claims. More often than not, however,      20       A      No.
21   I'm looking at numbers of claims in this context.      21      Q       Did you review any of the claims
22      Q      When you said "value estimates," what        22   survivors have filed against the diocese in this
23   did you mean?                                          23   case?
24      A      In a typical corporate Chapter 11,           24       A      I have reviewed claims registers in
25   claims -- proofs of claim will be filed. There may     25   this case, yes.




                                                                                 12 (Pages 42 to 45)
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 1      Q       Did you review any particular claims?      1      through the scope of instructions that counsel
 2      A       I have not reviewed the underlying         2      has been giving to other experts, that's all --
 3   proofs of claim form or any other supplemental        3      that's all work product in terms of the scope
 4   information for any claims.                           4      of what the diocese experts have been
 5      Q       You told me that you did not estimate      5      instructed to do by counsel.
 6   the value of survivor claims.                         6             So my caution remains. If you can
 7             Did I understand you correctly?             7      answer while respecting that caution, please
 8      A       Yes.                                       8      answer.
 9      Q       Did anybody estimate the value of          9             THE WITNESS: My knowledge only comes
10   survivor claims?                                     10      from conversations I've been involved with --
11             MR. STEPHENS: Objection.                   11      in with counsel.
12             To the extent that you have any            12   BY MR. KORNFELD:
13      information on that that came from counsel,       13      Q       Did anybody at A & M estimate the
14      that's work product. So if you can answer         14   value of survivor claims?
15      without reference to conversations you had with   15      A       No.
16      counsel, you can answer.                          16      Q       Putting aside conversations with
17   BY MR. KORNFELD:                                     17   counsel, have you seen any documents where there is
18      Q       Well, first, let's -- let's get a yes     18   an estimation of survivor claims?
19   or no, and then we can go further. And we will       19      A       No.
20   avoid conversations with counsel.                    20      Q       Do you know the value of survivor
21             My question is, sir, yes or no -- not      21   claims against the diocese? Just yes or no.
22   any more -- did anybody on behalf of the diocese     22      A       No.
23   estimate the amount of survivor claims?              23      Q       Do you expect all survivors to recover
24             MR. STEPHENS: Again, Alan, my              24   100 percent of the value of their claims?
25      objection is if the only way he knows that is     25      A       That's impossible for me to know at

                                                    48                                                          49
 1   this point.                                           1      technical matter, on my screen, it's showing as
 2      Q        Have you read the diocese's disclosure    2      being marked as Exhibit 2, so that may lead to
 3   statement?                                            3      some confusion.
 4      A       Yes.                                       4            MR. KORNFELD: Yeah, it should be
 5      Q        Does the diocese expect that all          5      marked as Exhibit 4.
 6   survivors will recover 100 percent of the value of    6            MS. CANTY: Sorry. I'll fix it now.
 7   their claims?                                         7            MR. KORNFELD: Eric, do you have it as
 8            MR. STEPHENS: I'll just object as            8      Exhibit 4 now?
 9      beyond the scope of the witness' disclosed         9            MR. STEPHENS: Just for -- yes, just
10      opinions.                                         10      in that moment it went from 2 to 4.
11            But to the extent you know, you can         11            MR. KORNFELD: Okay.
12      answer.                                           12   BY MR. KORNFELD:
13            THE WITNESS: I don't recall                 13      Q       Mr. Moore, do you have Exhibit 4 in
14      specifically how that was addressed or if it      14   front of you?
15      was addressed in the disclosure statement.        15      A       I do.
16   BY MR. KORNFELD:                                     16      Q       Let me represent to you Exhibit 4 is a
17      Q        Let's see if we can refresh your         17   long document. It's the diocese's disclosure
18   recollection.                                        18   statement, Docket Number 1615.
19            MR. KORNFELD: Can we publish                19            Do you have any reason to believe that
20      Exhibit 4, please, which is the disclosure        20   Exhibit 4 is not the diocese's disclosure statement?
21      statement?                                        21      A       No.
22            This will be Exhibit 4.                     22      Q       Let's turn to Page 7. Heading C is
23            (Whereupon, Exhibit 4 was marked for        23   entitled, "Parties Entitled to Vote on the Plan."
24      Identification.)                                  24            Are you with me there?
25            MR. STEPHENS: Alan, just as a               25      A       Yes.




                                                                               13 (Pages 46 to 49)
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                                                      50                                                          51
 1      Q       The last paragraph on Page 7 of the          1   BY MR. KORNFELD:
 2   diocese's disclosure statement marked as Exhibit 4      2       Q     What is the estimated recovery of each
 3   reads, "The following table sets forth which classes    3   of those classes?
 4   are entitled to vote on the plan and which are not      4       A     It says 100 percent.
 5   and sets forth an estimated recovery and/or the         5       Q     Do you have any reason to believe that
 6   impairment status for each of the separate classes      6   100 percent estimated recovery for those classes is
 7   of claims provided for in the plan."                    7   not correct?
 8            Then we go onto Page 8, and there's a          8       A     No.
 9   table.                                                  9       Q     Do you know how that estimated
10            Do you see that table?                        10   recovery percentage was computed?
11      A       I do.                                       11       A     No.
12      Q       What are the classes of survivor            12       Q     Do you know who did the analysis of
13   claims that are listed on the table that appears on    13   the estimated recovery for those classes of survivor
14   the top of Page 8 of the diocese's disclosure          14   claims?
15   statement marked as Exhibit 4?                         15       A     No.
16            MR. STEPHENS: Just note my objection          16       Q     Did A & M have any role in that?
17      that this is beyond the scope of Mr. Moore's        17       A     I don't believe so.
18      expert report.                                      18       Q     Did A & M have any role in calculating
19   BY MR. KORNFELD:                                       19   the value of the survivor claims?
20      Q       You may answer.                             20            MR. STEPHENS: Objection, asked and
21            MR. STEPHENS: If you have an answer,          21       answered.
22      you may answer.                                     22            THE WITNESS: No.
23            THE WITNESS: Abuse claims would fall          23   BY MR. KORNFELD:
24      into Classes 4 through 8 and possibly 9.            24       Q     Was the estimated value of projected
25                                                          25   allowed survivor claims important for you to know in

                                                      52                                                          53
 1   connection with the preparation of your liquidation     1       Q      And that percentage recovery is
 2   analysis that is used as the methodology for your       2   computed by looking at the value of claims and how
 3   exhibit -- for your Opinion Number 1?                   3   much the claims recover and then doing a percentage
 4       A      No.                                          4   calculation and saying unsecured claims get,
 5       Q      Why not?                                     5   hypothetically, X percentage; secured claims get,
 6       A      My -- as I indicate in my report, the        6   hypothetically, Y percentage, et cetera, correct?
 7   purpose of that analysis is to estimate the amount      7       A      Yes.
 8   of assets that would potentially be available for       8       Q      You didn't do that in your liquidation
 9   creditors as of a specific date.                        9   analysis here, did you?
10       Q      When A & M prepares liquidation             10       A      Correct.
11   analyses, typically, does -- do those analyses         11       Q      It's correct that you did not provide
12   include an estimate of the value of claims?            12   that analysis in your liquidation analysis.
13       A      I would say, most often that would be       13             Did I understand you correctly?
14   the case. The liquidation analysis has a waterfall     14       A      That's correct. I did not include
15   to it where the proceeds that are available are then   15   values of claims or that recovery that you indicated
16   distributed amongst different classes of creditors.    16   in this analysis.
17       Q      And the liquidation analysis that           17       Q      Have you ever done that analysis for
18   A & M prepares typically looks at the value of the     18   the debtor in this case?
19   claims and how much in proceeds will be allotted to    19       A      I believe that there were multiple
20   each class of claims, correct?                         20   times that A & M began work on a liquidation
21       A      That is generally the case, yes.            21   analysis; however, that was never completed.
22       Q      And then the A & M liquidation              22       Q      Why not?
23   analysis would typically have a percentage recovery    23             MR. STEPHENS: Objection. Just to the
24   for each class of claims, correct?                     24       extent that -- I'll just caution you not to
25       A      Yes.                                        25       reveal any instruction you received from




                                                                                  14 (Pages 50 to 53)
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 1       counsel.                                            1      example, just let me know.
 2             THE WITNESS: It was not -- a                  2            THE WITNESS: I'm okay for now.
 3       completed liquidation analysis was not              3            MR. KORNFELD: Fair enough. We'll see
 4       requested.                                          4      you on the half hour.
 5   BY MR. KORNFELD:                                        5            MR. STEPHENS: Thank you.
 6       Q      So the only liquidation that A & M did       6            (Whereupon, a short break was taken.)
 7   was the analysis in your report that has been marked    7            MR. KORNFELD: Let's go on. Good
 8   as Exhibit 1; is that correct?                          8      afternoon, now, Mr. Moore.
 9       A      This is the dismissal analysis using         9            THE WITNESS: Good afternoon.
10   the approach of the liquidation analysis. There is     10   BY MR. KORNFELD:
11   no other liquidation analysis.                         11      Q       So summing up, in your liquidation
12       Q      There's no calculation of the amount        12   analysis, you did not include the amount of claims,
13   of claims, how much each class of claims will          13   correct?
14   recover in dollars and the percentage recovery of      14      A      Value of the claims, that's correct.
15   each class of claims in this case that you're aware    15      Q      You did not include the estimated
16   of, correct, sir?                                      16   dollar amount of recovery for those claims, correct?
17       A      Correct.                                    17      A      Correct.
18             MR. KORNFELD: Let's take our break           18      Q      You did not include the estimated
19       now. We're about at 20 minutes after the hour.     19   recovery percentage for those claims, correct?
20       Let's come back in about 10 minutes.               20      A      Correct.
21             Is that okay with you?                       21      Q      Why didn't you include any of that in
22             THE WITNESS: Yes.                            22   the liquidation analysis that is part of Exhibit 1?
23             MR. STEPHENS: On the half hour, Alan?        23      A      The purpose of this analysis was
24             MR. KORNFELD: On the half hour. If           24   twofold. One was to estimate the value that may be
25       you want longer and you need a lunch break, for    25   available to creditors as of a specific point in

                                                      56                                                          57
 1   time and then also to compare how that value may        1       A      In a way, it does. There are no
 2   differ between a dismissal scenario and a confirmed     2   secured claims here. I do make note of the fact
 3   plan of reorganization scenario.                        3   that I removed any secured claims, which are zero.
 4            So it's more focused on the assets and         4   And then after that, the entire amount that I
 5   what would be made available to creditors, the          5   identify is what would be available for general
 6   amount of their claims, the number of the claims.       6   unsecured claims.
 7   But more importantly, the value of those claims is      7       Q      Does your recovery analysis, as part
 8   not relevant for that analysis.                         8   of your liquidation analysis, focus on the amount of
 9      Q       You talked with me about the best            9   survivor claims?
10   interest test that is used.                            10       A      The number of claims does factor into
11            Do you recall that discussion?                11   this analysis.
12      A       Yes.                                        12       Q      I'm asking about the amount, the
13      Q       The best interest test evaluates            13   dollar amount of the claims, not the number of
14   recoveries for creditors under a Chapter 11 versus     14   claims.
15   recovery for creditors under a Chapter 7, correct?     15       A      Not the dollar amount.
16      A       Yes.                                        16       Q      Does your recovery analysis attempt to
17      Q       Does your liquidation analysis              17   show the percentage recovery for each class of
18   estimate recovery for creditors under a Chapter 11?    18   survivor claims?
19      A       It does not. From the standpoint of         19       A      No.
20   how much an individual claim may recover, it does      20       Q      It doesn't show the percentage
21   focus on the amount of proceeds that may be            21   recovery for either a Chapter 11 scenario or a
22   available to satisfy those claims.                     22   Chapter 7 scenario, correct?
23      Q       Does your recovery analysis that is         23       A      It distinguishes between the assets
24   part of your liquidation analysis focus on how much    24   available, the value of the claims, and therefore,
25   a class of creditors will recover?                     25   the calculation of what recovery would be is




                                                                                  15 (Pages 54 to 57)
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 1   potentially the same under each of the scenarios in     1      Q       And your analysis doesn't do that,
 2   terms of creditors asserting claims.                    2   correct?
 3      Q       My question, sir, is, does your              3      A       Correct. I am not, in this analysis,
 4   analysis show the percentage recovery for each class    4   comparing the results to a class of creditors under
 5   of survivor claims?                                     5   a Chapter 7 versus a Chapter 11.
 6      A       No.                                          6      Q       Have you ever seen that analysis that
 7      Q       Your liquidation analysis is contained       7   the debtor has prepared, if they prepared it?
 8   on Page 9 of your report that has been marked as        8      A       No.
 9   Exhibit 1; is that correct?                             9      Q       Do you know if the debtor has prepared
10      A       Yes, what I refer to as my dismissal        10   that analysis?
11   analysis, that's correct.                              11      A       No.
12      Q       Is the analysis on Page 9 of your           12      Q       In a Chapter 7, you said there would
13   report a Chapter 7 analysis?                           13   be a trustee, right?
14      A       No.                                         14      A       Yes.
15      Q       How is it different from a Chapter 7        15      Q       What is, typically, the role of
16   analysis?                                              16   management where there's a Chapter 7 trustee?
17      A       Well, one example is I don't include        17             MR. STEPHENS: Objection to the extent
18   any costs for a Chapter 7 trustee in this analysis.    18      it calls for a legal answer.
19      Q       When we talked about the best interest      19             But answer based on your experience.
20   test, you testified -- if I understood you             20             THE WITNESS: In Chapter 7s that I
21   correctly -- that the best interest test shows         21      have seen, typically, management continues to
22   Chapter 11 results for creditors versus Chapter 7      22      be utilized to the extent that they are
23   results for creditors?                                 23      critical to the liquidation of those assets.
24            Did I get that right?                         24   BY MR. KORNFELD:
25      A       Generally, yes.                             25      Q       Typically, in a Chapter 7, who

                                                      60                                                          61
 1   fulfills the functions of the CEO? That's the           1   test that did not include projected Chapter 7
 2   trustee, isn't it?                                      2   trustee fees?
 3      A       It all depends. The trustee,                 3      A       I don't believe so.
 4   Chapter 7 trustee, would be the fiduciary; however,     4      Q       Other than in this case, have you ever
 5   the CEO could remain involved even after a Chapter 7    5   prepared a liquidation analysis that does not
 6   trustee is appointed.                                   6   include Chapter 7 trustee fees?
 7      Q       And that's up to the Chapter 7 trustee       7      A       Yes.
 8   whether the CEO remains involved, correct?              8      Q       Is that Noranda?
 9      A       Yes.                                         9      A       That's been multiple cases.
10      Q       And the Chapter 7 trustee may               10   Liquidation analysis doesn't always have to come to
11   terminate management, may keep management or may       11   play in Chapter 7.
12   keep some management, correct?                         12      Q       Have you prepared a liquidation
13      A       Yes.                                        13   analysis for purposes of the best interest test that
14      Q       You said you didn't include Chapter 7       14   does not include Chapter 7 trustee fees?
15   trustee fees in your analysis on Page 9.               15      A       I don't believe so.
16             Do you know what those fees would be?        16      Q       Have you ever seen a liquidation
17      A       Not offhand.                                17   analysis prepared for purposes of the best interest
18      Q       Did you estimate that in connection         18   test that do not include -- that did not include
19   with the preparation of analysis that's on Page 9 of   19   Chapter 7 trustee fees?
20   your report?                                           20      A       Not that I recall.
21      A       I did not because that is not the           21      Q       Looking at your analysis on Page 9 of
22   scenario that I am including on this dismissal         22   your report, I will call your attention to the
23   analysis.                                              23   "Insurance Proceeds (Abuse Claims)" line.
24      Q       Have you ever seen a liquidation            24            What is the amount of insurance
25   analysis prepared for purposes of the best interest    25   proceeds that you're projecting will be available




                                                                                 16 (Pages 58 to 61)
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 1   under both a Chapter 11 plan and in the event of a      1            So that's your note regarding
 2   liquidation?                                            2   insurance proceeds relating to abuse claims; is that
 3      A        Just to be clear, Mr. Kornfeld -- this      3   right?
 4   goes back to our conversation earlier -- what I am      4            THE COURT REPORTER: "Relating to"...
 5   discussing here in this dismissal analysis is the       5            MR. KORNFELD: I'm sorry. It's
 6   comparison of a Chapter 11 plan versus the case         6      insurance proceeds related to abuse claims.
 7   being dismissed not necessarily a liquidation of the    7      Sorry, Jamie.
 8   debtor. I just wanted to clarify based on your          8            THE COURT REPORTER: Okay. And your
 9   question.                                               9      answer, Mr. Moore?
10             So in this dismissal analysis, I do          10            THE WITNESS: Now I've forgotten the
11   not make an estimate for insurance proceeds, and I     11      question. If you could restate the question,
12   make the assumption that the insurance proceeds        12      please.
13   would be available under either scenario and the       13            MR. KORNFELD: Absolutely.
14   same.                                                  14   BY MR. KORNFELD:
15             I also highlight, though, in a               15      Q       Basically, all I was doing was calling
16   dismissal that there are certainly items that could    16   your attention to Note J. We're there, right?
17   impact the amount of insurance available that may      17      A      Yes.
18   not be -- that may not exist in a Chapter 11           18      Q       Note J begins at the bottom of 6 and
19   confirmed plan scenario.                               19   goes over to Page 7, right?
20      Q       Where do you say that in your report?       20      A      Yes.
21      A        I believe it's in my assumptions.          21      Q       Note J is titled "Insurance Proceeds
22      Q       Is that on Page 7?                          22   Related to Abuse Claims," correct?
23      A        Let me just go to that.                    23      A      Yes.
24             Yes, bottom of Page 6, Letter J.             24      Q       My first question is, have you
25      Q       Let's talk about that.                      25   determined the value of insurance assets that may be

                                                      64                                                          65
 1   available for purposes of satisfying abuse              1   would have finality.
 2   claimants?                                              2             And I believe that it is more likely
 3       A      No.                                          3   that insurers would come to the table with that
 4       Q      Has anybody on behalf of the debtor          4   finality, as compared to in a dismissal scenario,
 5   determined that?                                        5   where insurers are paying proceeds based on
 6            MR. STEPHENS: I just object to the             6   individual lawsuits, there may be more litigation
 7       extent that you know that from counsel.             7   around each of those insurance recoveries, which may
 8            THE WITNESS: Not that I'm aware of.            8   end up eating up -- first of all, the insurers may
 9   BY MR. KORNFELD:                                        9   not put forward as much, but then they also eat up
10       Q      Is it your conclusion that the value        10   some areas where there are limits in the policies.
11   of insurance proceeds is assumed to be approximately   11      Q       But despite that belief, your
12   equal in a dismissal to the value realized under a     12   determination, for purposes of this analysis, is
13   Chapter 11 plan of reorganization?                     13   that the value of insurance proceeds is
14       A      That it is the assumption I've made in      14   approximately equal in a dismissal to the value that
15   this analysis, correct.                                15   would be realized under a Chapter 11 plan?
16       Q      Why did you make that assumption?           16      A       Correct. As I indicated, the value
17       A      I do believe that there is risk in a        17   would be difficult to determine; and so, to be
18   dismissal scenario that insurance may not be the       18   conservative, I made this assumption.
19   same amount. It was impossible for me to quantify      19      Q       Insurance proceeds is an important
20   that amount, and so I used a conservative assumption   20   source of recovery, isn't it?
21   that they would be the same.                           21      A       Yes.
22       Q      What is your belief that there is more      22      Q       It's not a stretch to say that
23   risk in a dismissal context based upon?                23   insurance proceeds may be the most important source
24       A      A few items. One is that in the             24   of recovery, correct?
25   context of a Chapter 11 confirmed plan, the insurers   25      A       Correct. Again, just to be clear, I




                                                                                  17 (Pages 62 to 65)
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 1   stated my answer the other way, but I don't             1       objection. So please don't.
 2   contemplate a scenario where insurance proceeds         2   BY MR. KORNFELD:
 3   would be more in a dismissal scenario than they         3       Q      Do you have my question in mind, sir?
 4   would be in a Chapter 11.                               4       A      Yes. My answer is yes.
 5       Q       I understand. Thank you.                    5       Q      Which insurance experts did you speak
 6             You're not an insurance expert, are           6   to?
 7   you?                                                    7       A      I spoke with my colleague, my partner,
 8       A      No, sir.                                     8   at A & M that heads up our insurance group. And
 9       Q       Did you speak to any insurance experts      9   I've also had conversations with counsel.
10   before you reached your conclusion regarding           10       Q      Putting aside conversations with --
11   insurance proceeds --                                  11   well, let me just ask you, "conversations with
12       A      Yes.                                        12   counsel," you mean Jones Day or other counsel?
13       Q       -- being approximately equal in a          13       A      Jones Day and Reed Smith.
14   dismissal to those that might be realized under a      14       Q      Very good.
15   plan?                                                  15             Was your colleague present during
16             MR. STEPHENS: And I just want to             16   those conversations?
17       object. Alan, you keep using words like            17       A      No.
18       "conclusion" and "determination," and the words    18       Q      Who is your colleague that heads up
19       that are quoted are "assumption," and those are    19   your insurance group?
20       words that the witness keeps using.                20       A      James McDermott.
21             But with that objection, Chuck, you          21       Q      When did you speak to Mr. McDermott
22       can answer.                                        22   regarding insurance proceeds in this case?
23             MR. KORNFELD: You know, Eric, you've         23       A      I've spoken to Mr. McDermott many
24       been very good about not making speaking           24   times throughout the case. My last conversation
25       objections, but now you're making a speaking       25   with him would have been in the week before I

                                                      68                                                         69
 1   published my report.                                    1   well.
 2      Q       Did you ask Mr. McDermott whether your       2      Q      Anything else?
 3   conclusion that the value of insurance proceeds is      3      A      No.
 4   assumed to be approximately equal in a dismissal to     4      Q      Do you have experience dealing with
 5   value realized under a Chapter 11 plan of               5   insurers in a Chapter 7 scenario?
 6   reorganization was correct?                             6      A      I believe that I have had experience
 7      A       I don't believe I asked Mr. McDermott        7   with insurers in a Chapter 7, but I can't recall
 8   that specific question.                                 8   specific cases.
 9      Q       What did you ask Mr. McDermott?              9      Q      Have you had experience dealing with
10      A       We talked about Ecclesia and                10   insurers in a Chapter 7 scenario where there was a
11   Ecclesia's ability to -- or the ability to realize     11   coverage dispute between the Chapter 7 trustee and
12   more than $15 million from Ecclesia under different    12   his or her estate and the insurers?
13   scenarios, whether Ecclesia could be marketed and      13      A      That would have likely been the
14   how its claims may -- or claims against Ecclesia may   14   context of when I had experience with insurers in a
15   impact that.                                           15   Chapter 7, but I don't recall specific cases.
16      Q       Did you talk to Mr. McDermott about         16      Q      Do you recall anything about the
17   anything else?                                         17   experience other than you may have had it?
18      A       I think just general insurance              18      A      Not at this time.
19   recoveries.                                            19      Q      Let's go back to Page 9 of your
20      Q       Is your opinion that the value of           20   report. Under the section highlighted "Less
21   insurance proceeds is assumed to be approximately      21   Dismissal Deductions," the second line is
22   equal in a dismissal to value realized under a         22   "Incremental Litigation Costs."
23   Chapter 11 plan of reorganization based on anything    23            First, for the record, what is the
24   other than conversations with counsel?                 24   amount of those incremental litigation costs?
25      A       My experience dealing with insurers as      25      A      That's $162 million under each of the




                                                                                 18 (Pages 66 to 69)
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 1   low, medium and high scenarios.                         1       Q       The number of 500 is used in the
 2      Q       Those are scenarios that would, in           2   disclosure statement; is that correct?
 3   your view, be part of the dismissal analysis,           3       A      For those calculations. But it also
 4   correct?                                                4   highlights the eventual number of abuse claims could
 5      A       Yes.                                         5   be higher or lower than that.
 6      Q       How did you arrive at that                   6       Q       You said the number of claims for
 7   $162 million number?                                    7   purposes of calculation that is used by the debtor
 8      A       That is a number of cases which is, I        8   in the disclosure statement is 500.
 9   believe, 648 multiplied by an incremental cost to       9             My question, sir, is, what
10   defend and litigate each case of $250,000.             10   calculations?
11      Q       648 times 250,000 equals 162 million.       11       A      There are calculations that indicate
12            Did I get that right?                         12   the recovery per claim. So based on each individual
13      A       You did.                                    13   claim and the assets that are being put forward in
14      Q       Why did you assume 648 allowed claims?      14   the plan that the debtor filed, which is 185 to
15      A       Based on the claims registered around       15   200 -- estimated at 185 to $200 million prior to
16   the time of my report and conversations with           16   insurance.
17   counsel.                                               17       Q       You said "185 to 200 million prior to
18      Q       How many allowed claims does the            18   insurance."
19   debtor assume in its disclosure statement?             19             What do you mean by that?
20      A       For which type of claim?                    20       A      Within the debtor's plan, there is a
21      Q       The survivor claim, sir.                    21   list of assets that would be proposed to be
22      A       The debtor doesn't specify a                22   contributed to a trust that would be used to pay
23   particular number around those claims. For             23   claims -- pay abuse claims. Those assets are
24   calculation purposes, some of the calculations that    24   estimated to have a value of 185 million to
25   are performed use a number of 500.                     25   $200 million.

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 1      Q      I understand.                                 1   see if I used those specific words.
 2            And then the debtor did various                2       Q      Why don't you take a look -- take your
 3   calculations that are included in its plan that         3   time -- and let me know if you disclosed in your
 4   deal, in general, with the amount being contributed     4   expert report that the $250,000 per case was a
 5   per claim; is that correct?                             5   number that was provided by counsel.
 6      A      A recovery -- an average recovery per         6       A      At the very last page of my report --
 7   claim, yes. Per abuse claim.                            7   this is Page 33 -- Number 8 is an affidavit that was
 8      Q      The number of claims that the debtor          8   filed -- an affidavit of mine that was filed
 9   used in its calculations was 500 claims, correct?       9   pre-petition that factored into this.
10      A      Correct.                                     10             Number 8 on Page 33 of my report is an
11      Q      The number of claims you used in your        11   affidavit that I filed pre-petition that
12   calculation of incremental abuse claims is 648         12   specifically relates to this and that was developed
13   claims; is that correct?                               13   with counsel. That affidavit doesn't specify
14      A      Correct.                                     14   $250,000 in it; however, it is part of similar
15      Q      Why did you assume that there would be       15   conversations that I've had with counsel.
16   an additional $250,000 per case in defense costs on    16       Q      Where does the words "developed with
17   top of the cost of administering claims through a      17   counsel" appear in Item 8 on Page 33 of your report?
18   settlement trust established as part of a Chapter 11   18       A      They don't.
19   plan of reorganization?                                19       Q      My question, sir: Would the reader of
20      A      That was the number provided to me by        20   your report -- and you have -- the debtor has
21   counsel.                                               21   submitted your report to the court -- know, after
22      Q      In any place in your report, do you          22   reading your report, that the $250,000 estimate was
23   say that $250,000 was a number provided to you by      23   an estimate provided by counsel?
24   counsel?                                               24       A      I can't say what a reader would think
25      A      I would have to go back and look and         25   or not think based on reading this.




                                                                                  19 (Pages 70 to 73)
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 1      Q      The question, sir, is, where in your          1       Q      Let me ask a precise question, and I
 2   report does it say that the $250,000 estimate was       2   do appreciate your precision.
 3   provided by counsel?                                    3            To your knowledge, did anybody provide
 4      A       It does not say those specific words.        4   to the bankruptcy court in this case Item Number 8
 5      Q      Does it say those words in sum or             5   on materials considered?
 6   substance, sir?                                         6       A      I don't know if that's been included
 7      A       One could imply, based on looking at         7   in other pleadings or not.
 8   the additional materials considered, Number 8, that     8       Q      Do you have any reason to believe that
 9   that would have been developed with counsel.            9   it was?
10      Q      When your report was provided to the         10       A      It certainly could have been.
11   court yesterday, did you provide those additional      11       Q      You didn't attach it to any of the
12   materials, in particular, the affidavit that is        12   declarations that you submitted or the debtors
13   cited in materials considered, Item Number 8, to the   13   submitted that you signed, correct?
14   court?                                                 14       A      I don't recall if it was attached to
15            MR. STEPHENS: Objection. Mr. Moore            15   any of my declarations. It may have been attached
16      didn't provide anything to the court yesterday,     16   to pleadings that were associated with other
17      Jones Day provided files to the court               17   declarations of mine filed in the bankruptcy case.
18      yesterday.                                          18       Q      But you don't know whether it was or
19   BY MR. KORNFELD:                                       19   wasn't, correct?
20      Q      Did anybody provide that affidavit to        20       A      I don't know.
21   the court?                                             21       Q      What methodology did you use, other
22      A       That affidavit was filed with a court       22   than taking a number that counsel provided to you,
23   in May of 2020.                                        23   to conclude that additional litigation costs, on top
24      Q      Was that the bankruptcy court?               24   of what would be incurred by a settlement trust
25      A       No, a different court.                      25   established as part of a Chapter 11 reorganization,

                                                      76                                                          77
 1   would be 250,000 per case?                              1            I would not think, however, that when
 2      A        There were a few things that I did.         2      the witness has opened the door to advice of
 3             One, I had follow-up questions for            3      counsel, that it would be appropriate to
 4   counsel to understand the reasonableness of that        4      instruct him -- and we might have a dispute
 5   number; and then, secondly, I was working with the      5      that would need to be decided about that based
 6   debtor on a pre-petition basis and had visibility to    6      on instructions -- but not to engage in more
 7   some of the litigation activities -- defense            7      colloquy than that.
 8   activities that were going on, on a pre-petition        8   BY MR. KORNFELD:
 9   basis.                                                  9      Q       Sir, first, let's get on the same
10      Q        What did you ask counsel about the         10   page, or back to the same page.
11   reasonableness of the 250,000-per-case estimate?       11            We're talking about the 250,000 per
12             MR. STEPHENS: And I'll just caution          12   case in incremental costs that would be over and
13      you, you can testify to the basis of the            13   above the fees that would be incurred by a
14      assumption, but don't testify to any of the --      14   Chapter 11 settlement trust, correct?
15      any legal advice or any legal conclusions that      15      A       Yes.
16      took place in the course of that conversation.      16      Q       Your testimony is that the basis for
17      But certainly relay to Mr. Kornfeld the factual     17   that assumption was what counsel, Jones Day, told
18      basis of that assumption.                           18   you; is that correct?
19             MR. KORNFELD: Let me ask the question        19      A       Yes. Jones Day provided me with that
20      again so it's clear for the record.                 20   number.
21             I'm asking -- and, Eric, I appreciate        21      Q       You also testified that you followed
22      your comment, but let me be clear to you about      22   up with Jones Day once you had that 250,000-per-case
23      what I'm getting at and you can make your           23   number, and you asked them questions so you could
24      objection. And if you want to make an               24   understand the reasonableness of the
25      instruction, that's up to you.                      25   $250,000-per-case assumption.




                                                                                  20 (Pages 74 to 77)
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 1            Did I get that right?                          1             Those are some of the general
 2      A        Yes.                                        2        categories of questions that I recall asking.
 3      Q       What did you ask Jones Day, and what         3   BY MR. KORNFELD:
 4   did Jones Day tell you?                                 4        Q      What did Jones Day tell you?
 5             MR. STEPHENS: Just in the context of          5        A     We discussed, as it relates to the
 6      answering Alan's question about the assumption,      6   first item, different scenarios on how cases would
 7      please answer.                                       7   be revived.
 8             THE WITNESS: Some of the questions            8             But when I say "different scenarios,"
 9      that I recall asking Jones Day after receiving       9   it's more in the context of a lot of this is up to a
10      that number were, first of all, I wanted to         10   judge on how quickly a judge would move. But,
11      understand what steps would be involved with a      11   generally, there would be the normal activities that
12      party reviving and pursuing these cases in          12   I have observed in other litigation, where there
13      state court, what are the various activities        13   would be extensive discovery that would be involved,
14      that would occur all the way through a              14   depositions that would be taken.
15      potential trial and judgment.                       15             Eventually, there may be trials that
16             I sought to understand how the               16   would occur, and those trials could have information
17      different cases -- the sequencing of the cases,     17   that would impact other cases, and so there would be
18      how that may occur. I sought to understand          18   extensive involvement from other parties, likely, in
19      how -- if there are multiple parties that are       19   each of the cases.
20      named in a lawsuit, how that would come into        20             To the extent that someone received a
21      play.                                               21   judgment against the diocese, then there would be
22             I sought to understand how -- after a        22   other activities that would be undertaken to
23      judgment may be granted, how or what activities     23   potentially eventually receive payment, and that
24      would have to occur to the point where a            24   also would factor into this estimate.
25      plaintiff would eventually receive a payment.       25        Q      That's a pretty long and protracted

                                                      80                                                          81
 1   process you described; is that correct?                 1       A      I don't know if anyone had -- in fact,
 2       A      Well, it was in the context of a             2   I'm certain that no one said, this is the number of
 3   conversation or two. But, yes, these are the types      3   cases that will go through that process.
 4   of questions that I asked.                              4       Q      I'm not asking about the number. I'm
 5       Q      Did Jones Day tell you that every one        5   asking, was the question, that -- would all of the
 6   of the 648 cases would go through that long and         6   cases go through the process? Because your analysis
 7   protracted process?                                     7   assumes that all 648 cases go through the same
 8       A      In fact, Jones Day indicated it could        8   process, doesn't it?
 9   be even more than 648 because if the case is            9       A      Yes.
10   dismissed -- and I think -- I think counsel for the    10       Q      Why did you assume that all of the
11   committee may have used these words -- it's a reset.   11   cases would go through that long and protracted
12   And so claims that may have been disallowed at this    12   litigation process as opposed to some case -- some
13   point could be revived as well.                        13   cases settled early, some cases settled midstream,
14             And so I felt comfortable -- it was my       14   and some cases settle in the courthouse steps -- on
15   decision to use the 648 cases, but certainly it was    15   the courthouse steps or even in the courthouse?
16   indicated that the number of cases could be even       16             Why did you assume all of the cases go
17   higher than 648 that would be brought in state         17   through that long, protracted process?
18   court.                                                 18       A      Well, to be clear, the $250,000 is an
19       Q      You focused on something I really           19   average. So I'm certain that there may be some
20   wasn't interrogating you on.                           20   cases that are less than $250,000 in incremental
21            What I was asking you, sir, was, did          21   costs, and there are likely going to be some cases
22   Jones Day tell you that all of the cases, whether      22   that are even more. But the 250,000 is an average
23   it's 648 or a number over and above 648, would go      23   across all the cases.
24   through the long and protracted litigation process     24       Q      Okay. So you've testified here to a
25   that you just discussed?                               25   somewhat extensive conversation with Jones Day,




                                                                                  21 (Pages 78 to 81)
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                                                      82                                                          83
 1   correct?                                                1       A       I am not.
 2       A       I would say it was, depending on how        2       Q       Have you ever been retained as a fee
 3   you define "extensive," a fair amount of                3   examiner?
 4   back-and-forth on this.                                 4       A       No.
 5       Q       Okay. And where in your report does         5       Q       Have you ever qualified as an expert
 6   it say you had a "fair amount of back-and-forth"        6   regarding the cost of litigation in a mass tort
 7   with Jones Day about your $250,000-per-case             7   case?
 8   increased litigation costs conclusion?                  8       A       There is one case that I had,
 9       A       It does not.                                9   FirstEnergy Solutions, where I did file, I believe,
10       Q       Don't you think that would have been       10   multiple expert reports, and some of the claims
11   important to put in your report, sir?                  11   related to environmental claims that I believe could
12              MR. STEPHENS: Objection.                    12   fall into the category of mass tort. And part of
13              THE WITNESS: No. I believe that I           13   those expert reports did relate to cost to defend.
14       have included in the report a good amount of       14       Q       Are you using your background from
15       information. There is a lot that goes into         15   FirstEnergy Solutions in connection with your
16       each one of these assumptions, and I have not      16   conclusions regarding litigation costs in this case?
17       included every conversation or every experience    17       A       No. Other than just as my general
18       that I have that potentially goes into coming      18   experience. I've been involved in a lot of
19       to these assumptions.                              19   litigation. I understand the process. I understand
20   BY MR. KORNFELD:                                       20   what goes into cases.
21       Q       But your conversation with Jones Day       21       Q       Has any court ever said you're
22   was a key part of your 250,000-per-claim assumption;   22   qualified to opine regarding the costs of litigation
23   is that correct?                                       23   in a mass tort case?
24       A       Yes.                                       24       A       No.
25       Q       You're not a lawyer, are you, sir?         25       Q       Have you ever qualified as an expert

                                                      84                                                          85
 1   regarding the cost of litigation in a sexual abuse      1   experience in estimating the costs of litigation?
 2   case?                                                   2       A      I don't.
 3      A       No.                                          3       Q      So prior to this case, you have never
 4      Q       Do you have any training regarding the       4   analyzed the cost per claim to defend in a sexual
 5   estimation of the costs of sexual abuse litigation?     5   abuse bankruptcy, correct?
 6      A       No.                                          6       A      That is incorrect. I have analyzed
 7      Q       Do you have any experience doing that?       7   estimated cost to defend in sexual abuse cases in
 8      A       Other than the process that I just           8   other matters.
 9   described, no.                                          9       Q      What matters, sir?
10      Q       The process that you just described is      10       A      I work with other Catholic dioceses,
11   only a process in this case, correct, sir?             11   and as part of that work, I have come across
12      A       The process that I described is the         12   estimates of costs to defend and litigate cases.
13   process I have followed in other cases as well as it   13       Q      And what matters are those?
14   relates to estimating litigation costs or costs to     14       A      Only one I can disclose that is
15   defend.                                                15   public, and that is the Roman Catholic Bishop of
16      Q       In what other sexual abuse cases have       16   Oakland, California.
17   you estimated the cost to defend?                      17       Q      Did you review the costs to defend in
18      A       That was my response. It wasn't             18   the Michigan State-Larry Nassar case?
19   specifically on sexual abuse cases. It was, in         19       A      I did not.
20   general, the process -- litigation process and the     20       Q      Have you heard of that case?
21   cost to defend lawsuits.                               21       A      Yes. Well, there are multiple cases
22      Q       Thank you so much for that general          22   against Larry Nassar. I think you're specifically
23   answer. My question is specific. I'll ask it           23   referring to Michigan State University.
24   again.                                                 24       Q      I'm actually referring to the case by
25             In what sexual abuse cases do you have       25   the survivors of Larry Nassar's abuse against




                                                                                 22 (Pages 82 to 85)
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                                                      86                                                         87
 1   Michigan State University that settled for              1      A       I did not.
 2   approximately $500 million.                             2      Q       And you didn't look at the
 3            My question, sir: Did you review the           3   University of Michigan case in connection with your
 4   cost to defend in that case?                            4   work in this case, correct?
 5      A      I did not.                                    5      A       Correct.
 6      Q      Did you review the cost to defend             6      Q       You don't -- you don't know anything
 7   against the University of Southern California in the    7   about the $490 million settlement in that case or
 8   George Tyndall cases that involve approximately 700     8   the costs to defend in that case, correct?
 9   survivors?                                              9      A       I know of the settlement. I don't
10      A      I did not.                                   10   know the costs to defend.
11      Q      Did you review the cost to defend in         11      Q       Was it important to you to look at any
12   the University of Michigan-Anderson case that          12   other large number of survivor sexual abuse claims
13   involved approximately 1,000 survivors?                13   in order to analyze what the cost of defense was?
14      A      I did not.                                   14      A       I think my discussions with Jones Day
15      Q      Did you hear of the USC case before          15   around the specifics of these cases was more
16   today?                                                 16   relevant than some of the other cases that you
17      A      I generally recall that, yes.                17   mentioned where I think the facts and circumstances
18      Q      Do you know what the settlement amount       18   are different.
19   was?                                                   19      Q       Those are the secret discussions with
20      A      No, I do not.                                20   Jones Day that you don't reference in your report,
21      Q      Does $852 million refresh your               21   correct?
22   recollection?                                          22            MR. STEPHENS: Objection.
23      A      It does not.                                 23            THE WITNESS: I don't refer to them as
24      Q      You didn't look at the USC case in           24      "secret conversations."
25   connection with your work in this case, correct?       25

                                                      88                                                         89
 1   BY MR. KORNFELD:                                        1   cases in connection with your conclusion that the
 2      Q       No. No. I referred to them as                2   incremental costs on top of what a settlement trust
 3   "secret conversations" because you don't mention        3   would incur would be 250,000 per case?
 4   them in your report.                                    4             MR. STEPHENS: Objection.
 5            You don't mention them in your report,         5             You can answer.
 6   correct?                                                6             THE WITNESS: As I indicated,
 7            MR. STEPHENS: Objection.                       7       knowledge that I obtained through other cases,
 8            THE WITNESS: I don't mention my                8       factors into my over- -- my general knowledge.
 9      conversations with Jones Day in my report.           9       But this was specifically focused on my
10   BY MR. KORNFELD:                                       10       conversations with Jones Day and the facts and
11      Q       In the UCLA-Dr. Heaps litigation --         11       circumstances in this case.
12   have you heard of that litigation.                     12   BY MR. KORNFELD:
13      A       That is generally familiar. I               13       Q      Again, my question was specific. Did
14   couldn't recall if there was one with USC and one      14   you look at any other sexual abuse cases, sir?
15   with UCLA or if they both had cases. So it's           15       A      As I indicated, I am aware of costs to
16   something that sounds generally familiar, but I        16   defend in other sexual abuse cases.
17   don't know the specifics.                              17       Q      Besides the cases that you can't
18      Q       You don't know the settlement amount,       18   discuss, what do you know about costs to defend in
19   correct?                                               19   other sexual abuse cases?
20      A       Correct, do I not.                          20       A      Nothing further beyond those cases.
21      Q       You didn't look at what the cost to         21       Q      Do you know of any case where you can
22   defend the cases in the UCLA litigation was,           22   tell us, today, under oath, what the costs to
23   correct?                                               23   defend -- I'm asking about any sexual abuse case.
24      A       Correct.                                    24   Any case that you can tell us what the cost of
25      Q       Did you look at any other sexual abuse      25   defending claims was, either per claim or total?




                                                                                 23 (Pages 86 to 89)
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 1      A      I believe all the cases that you              1   correctly, the -- there were around 300 survivors in
 2   referenced all reached settlements. And I don't         2   that case, and you mentioned there was a
 3   believe that any of them went to trial. So I don't      3   $500 million settlement.
 4   think any of the cases that you mentioned, I would      4            So these are the numbers that I'm
 5   be able to come up with a cost to defend all the way    5   generally aware of, that, on average, I think that
 6   through trial.                                          6   would lead to over a million dollars per survivor.
 7      Q       You didn't look at any of those cases,       7   Those are some of the numbers I'm aware of that,
 8   though, did you?                                        8   again, factors into my overall assessment of
 9      A      I have knowledge of some of those             9   reasonableness.
10   cases that you mentioned.                              10      Q       Sir, let's talk about what you just
11      Q       Did you analyze any documents in            11   said.
12   connection with those cases?                           12            In Michigan State, we can agree that
13      A      No.                                          13   there are 300 victims and the settlement was
14      Q       Did you attempt to ascertain what the       14   $500 million approximately. That's the total
15   cost of defense was in any of those cases?             15   settlement cost. It's not the cost per case to
16      A      No.                                          16   depend.
17      Q       Did you attempt to ascertain what the       17            Do you understand that?
18   cost of defense was in any sexual abuse case other     18       A      I understand that there were costs
19   than this one?                                         19   that would have been incurred and then there was a
20      A      Just from a numbers perspective,             20   settlement on top of that.
21   again -- being aware of some of the settlements --     21      Q       So what were the costs, the litigation
22   and, presumably, parties settle because they want to   22   costs that were incurred? Do you know that?
23   avoid the cost of litigation.                          23       A      I don't know the costs that were
24            You mentioned the first one with              24   incurred prior to them getting to that settlement.
25   Larry Nassar and Michigan State. If I recall           25      Q       That was what my question went to.

                                                      92                                                          93
 1              Did you attempt to find out what the         1      think you meant insurance and then defense
 2   costs, the defense costs, that were incurred to get     2      costs. So the question was unclear.
 3   to the settlement in the Michigan State case were?      3            MR. KORNFELD: I'll rephrase.
 4       A       No. Again, that was a settlement.           4   BY MR. KORNFELD:
 5       Q       So you're assuming 250,000 per case         5      Q      Let's step back a moment before I
 6   based on an assumption that, on average, that will      6   rephrase.
 7   be the cost to fully litigate those cases, correct,     7            In your analysis, sir, you treat
 8   over and above what a settlement trust will incur?      8   insurance proceeds the same under a dismissal
 9       A       That's correct.                             9   scenario and a Chapter 11 scenario, correct?
10       Q       Did you consider whether insurance         10      A      Correct.
11   covers any of the defense costs in this case?          11      Q      In your analysis under a dismissal
12       A       We discussed previously the line item      12   scenario, you assume an incremental defense cost
13   as it relates to potential proceeds from insurance.    13   increase of 250,000 per case for a total of
14   And I did not include any item here because, again,    14   $162 million, correct?
15   I've assumed the same amount under a dismissal as we   15      A      Correct.
16   would have in a confirmed plan of reorganization.      16      Q      To be clear, that $162 million is not
17              Part of what could come from insurance      17   incurred under a Chapter 11 scenario, correct?
18   is defense costs. And again, I treat that as the       18      A      Correct.
19   same under both scenarios.                             19      Q      So while you treat insurance proceeds
20       Q       You treat the defense costs the same       20   the same under a dismissal in a Chapter 11 scenario,
21   under both scenarios, but you do not treat the         21   you treat incremental litigation costs differently
22   incremental costs of defense the same under both       22   under a dismissal scenario and Chapter 11 scenario,
23   scenarios; is that correct, sir?                       23   correct?
24              MR. STEPHENS: Objection. Alan, you          24      A      Yes.
25       used the word "defense costs" there twice. I       25      Q      Is it possible, sir, that there would




                                                                                  24 (Pages 90 to 93)
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                                                      94                                                          95
 1   be insurance proceeds available for defense costs in    1      Q       Did any of the policies that you're
 2   both a dismissal scenario and a Chapter 11 scenario?    2   generally aware of say that we only cover defense
 3       A      Yes. This is directly related to what        3   costs in a Chapter 11 scenario as opposed to a
 4   I indicated on insurance. To directly answer your       4   dismissal scenario where the claims would be in
 5   question, it is possible that there could be            5   state court?
 6   additional insurance proceeds available to pay          6      A       I'm not aware of a term like that.
 7   defense costs. And similarly, on my assumption of       7      Q       This is no such term like that, right?
 8   treating the proceeds the same, it is possible that     8      A       Not that I'm aware of.
 9   there would be less under a dismissal scenario than     9            MR. STEPHENS: Alan, if we're closing
10   in a plan.                                             10      out this topic, we've been going for about an
11       Q      Under a dismissal scenario, did you         11      hour and ten. A lunch break would be good, but
12   analyze how much in insurance proceeds would be        12      if you still have more on this topic, I don't
13   available for defense costs?                           13      mean to cut you off.
14       A      I did not.                                  14            THE COURT REPORTER: Do you want to
15       Q      Is it correct then that the                 15      stay on the record for this?
16   $162 million of incremental defense costs under a      16            MR. KORNFELD: We can stay on the
17   dismissal scenario might be, at least in part,         17      record.
18   covered by insurance under a dismissal scenario?       18            I do have more on this topic, but I
19       A      It's possible.                              19      don't want to keep anybody from lunch. So why
20       Q      Did you analyze any insurance policies      20      don't we take the lunch break. How much would
21   to ascertain whether that was likely?                  21      y'all want?
22       A      I am generally aware of the policies        22            MR. STEPHENS: Why don't we make it
23   that have limitations on defense costs. I am not an    23      35 minutes? Come back at quarter after the
24   expert in the policies that existed over the decades   24      hour?
25   that the diocese has been in existence.                25            MR. KORNFELD: That works for me.

                                                      96                                                          97
 1            Is that good, Mr. Moore?                       1   provided you with the 250,000-per-case assumption in
 2            THE WITNESS: Yes, thank you.                   2   incremental additional defense costs provide you
 3            MR. KORNFELD: Okay. Thanks,                    3   with any documents that showed the basis for that
 4       everybody.                                          4   assumption?
 5            (Whereupon, a lunch recess was taken.)         5      A      No.
 6            MR. KORNFELD: Let's go back on the             6      Q       I was asking you about large sexual
 7       record, please.                                     7   abuse cases before lunch.
 8   BY MR. KORNFELD:                                        8            Do you recall that discussion?
 9       Q      Mr. Moore, you understand you're still       9      A      Yes.
10   under oath, right?                                     10      Q       And if I understood your testimony
11       A      I do.                                       11   correctly, you didn't attempt to ascertain what the
12       Q      We were talking about Jones Day             12   cost per defense -- strike that.
13   providing you with the 250,000 per case on average     13            You didn't attempt to ascertain what
14   assumption that you used to arrive at $162 million     14   the cost of defense per claim was in any of those
15   in incremental additional costs over and above the     15   cases, correct?
16   settlement trust.                                      16      A      Correct.
17            Do you recall that?                           17      Q       You didn't attempt to ascertain what
18       A      Yes.                                        18   the total costs to defend the claims in any of those
19       Q      Which Jones Day attorneys provided you      19   cases was, correct?
20   with that assumption?                                  20      A      Correct.
21       A      I believe that was Ben Rosenblum, and       21      Q       Did you consider the costs of defense
22   it may have been Todd Geremia and/or Eric Stephens.    22   in any other diocese bankruptcy?
23       Q      Anybody else?                               23      A      Could you clarify that question?
24       A      I don't believe so.                         24      Q       Well, you're working on one diocese
25       Q      Did the Jones Day attorneys who             25   bankruptcy right now, correct, that is public?




                                                                                  25 (Pages 94 to 97)
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                                                      98                                                         99
 1       A      Apart from Rockville Centre?                 1   specific dollar amounts incurred prior to the
 2       Q      Yes.                                         2   Oakland Diocese bankruptcy.
 3       A      Yes.                                         3             You don't know those specific dollar
 4       Q      What bankruptcy is that?                     4   amounts, correct?
 5       A      That's the Roman Catholic Bishop of          5      A       I don't know the specific dollar
 6   Oakland.                                                6   amount.
 7       Q      Did you consider the pre-petition            7      Q       And you didn't -- you didn't ask
 8   costs of defense in the Oakland Diocese case in         8   anybody about that in connection with your work in
 9   connection with rendering your opinion in this case?    9   this case, correct?
10       A      Not specifically.                           10      A       Correct.
11       Q      Generally, did you look at the cost of      11      Q       Did you look at any other documents in
12   defense in the Oakland Diocese case?                   12   arriving at the 250,000 per case, $162 million
13       A      I didn't analyze that, but, again,          13   total, incremental cost of defense line item?
14   it's information that I am aware of that factors       14      A       Nothing other than what I disclosed in
15   into how I approach some of these analyses.            15   my report.
16       Q      Very good.                                  16      Q       The only thing you disclosed in your
17             What was the cost per claim of defense       17   report is one authority, correct?
18   in the Oakland case prior to the bankruptcy?           18      A       You're referring to Number 8?
19       A      That was part of discussions with           19      Q       Correct.
20   counsel.                                               20      A       Yes, that's right.
21       Q      Do you know what the cost was?              21      Q       And that one authority is your own
22       A      I am aware of estimates, but I don't        22   affidavit, correct?
23   have the specific dollar amounts that were incurred    23      A       Yes.
24   prior to that bankruptcy.                              24             MR. KORNFELD: Let's publish
25       Q      That was -- my question was on              25      Exhibit 2, please.

                                                    100                                                        101
 1            (Whereupon, Exhibit 2 was marked for           1      Q       What is Exhibit 2?
 2      Identification.)                                     2       A      This is the affidavit referred to as
 3   BY MR. KORNFELD:                                        3   Number 8 in my materials considered in my expert
 4      Q       Let me know when you have Exhibit 2 up       4   report.
 5   on your screen.                                         5      Q       Exhibit 2, your affidavit, is the only
 6            Do you have it, Mr. Moore?                     6   document you considered in connection with your
 7      A       I don't.                                     7   opinion that increased incremental litigation costs
 8            MR. STEPHENS: I don't either. I'm              8   would be on average $250,000 per claim for a total
 9      not sure if La Asia is there.                        9   of $162 million; is that correct, sir?
10            MR. KORNFELD: Oh, that will be                10       A      Correct.
11      important to have La Asia there.                    11      Q       Where in your affidavit does it say,
12            MS. CANTY: Sorry, Alan. Which number          12   in sum or substance, that the cost per claim is
13      did you call? I'm sorry, Alan.                      13   $250,000 over and above what a settlement trust
14            MR. KORNFELD: I'm sorry, La Asia. I           14   would incur?
15      should have checked and made sure you were          15       A      It doesn't say specifically.
16      there before I started this. But I'm sure I'll      16            THE COURT REPORTER: What was the
17      get a talking to afterwards.                        17       objection? I didn't hear it.
18            We're going to Exhibit 2.                     18            MR. STEPHENS: I don't think there was
19            MS. CANTY: Okay, no problem. One              19       one. I think there was just some crosstalk
20      second.                                             20       between the lawyer and the witness.
21            (Whereupon, a discussion was held off         21   BY MR. KORNFELD:
22      the record.)                                        22      Q       Let's -- let me go back and make sure
23   BY MR. KORNFELD:                                       23   we have a clean record.
24      Q       Let me know when you have Exhibit 2.        24            Where in your affidavit marked as
25      A       I have it.                                  25   Exhibit 2 does it say that increased litigation




                                                                               26 (Pages 98 to 101)
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                                                     102                                                        103
 1   costs in the dismissal scenario would be 250,000 per    1   particular is Paragraph 29.
 2   claim for a total of $162 million?                      2       Q      Let's talk about Paragraph 29 of your
 3       A      It does not say that specifically.           3   affidavit. You talk about 400 abuse claimants that
 4       Q      Where does it say that in general,           4   have filed claims with the IRCP, correct?
 5   sir?                                                    5       A      Yes.
 6       A      I pointed to a few items in here that        6       Q      You talk about 320 claimants have
 7   all, again, tie into my assessment of the               7   accepted compensation totaling just over
 8   reasonableness of that number that I received from      8   $57 million, correct?
 9   Jones Day. Part of that also relates to the             9       A      Correct.
10   diocese's results from the IRCP program.               10       Q      And when you say, "accepted
11       Q      Tell me where the $250,000 is               11   compensation," that's the amount the diocese paid to
12   mentioned generally, sir.                              12   settle those 320 claims, correct?
13       A      It is not mentioned -- the $250,000         13       A      Yes.
14   number is not mentioned in this document.              14       Q      Where in Paragraph 29 do you talk
15       Q      Tell me where the cost per claim is         15   about the diocese's cost to defend those claims,
16   analyzed in your May 29, 2020 affidavit that we        16   their attorneys' fees, their expert fees, their
17   marked as Exhibit 2 and that you reference in your     17   court costs? Where is that mentioned in
18   report as the only item considered in connection       18   Paragraph 29?
19   with your conclusion that increased litigation costs   19       A      That's not mentioned in Paragraph 29.
20   would be $162 million.                                 20       Q      Where is anything having to do with
21       A      The primary item that I referred to,        21   the cost of defense mentioned in Paragraph 29?
22   as I indicated, is the diocese's results under the     22       A      It's not.
23   IRCP program.                                          23       Q      Okay. What other paragraphs -- well,
24       Q      Where is that, sir? What paragraph?         24   let me ask you this, sir: Why did you reference
25       A      There are a few instances, but one in       25   Paragraph 29 as being informative in any way with

                                                     104                                                        105
 1   respect to the cost of defense of the claims?           1      A      It was a different process, the IRCP
 2      A         Again, a principle that I indicated        2   process.
 3   earlier, it doesn't make sense for someone to settle    3      Q      My question, sir: What was the
 4   a claim unless they believe that the cost that they     4   diocese's cost to defend those 320 claims that
 5   may pay out would be more. And so I use this as one     5   settled?
 6   item in assessing here there was a willingness to       6      A      I don't know that the diocese incurred
 7   pay $57 million out on these 320 claims just as a       7   any costs as -- to defend itself in the IRCP
 8   settlement. That doesn't include any sort of            8   program.
 9   defense costs.                                          9      Q      Thank you.
10              I also indicate in this declaration         10            Let's move to the next reference in
11   that the diocese separately had spent just about       11   your affidavit. You mentioned cases filed against
12   $4 million in defense costs. So these are just data    12   the diocese in state court.
13   points that factor into, again, my assessment of the   13            Did I understand you correctly?
14   reasonableness of the $250,000.                        14      A      Yes.
15      Q         Understood.                               15      Q      And you start talking about those
16              But as a data point, Paragraph 29           16   cases in Paragraph 33 of your affidavit on Page 12,
17   doesn't say anything about defense costs, correct,     17   right?
18   sir?                                                   18      A      Yes.
19      A         It does not say those specific words,     19      Q      And you refer to Paragraph 33 in your
20   but again, it's a data point that you can look at in   20   answer to my question because that paragraph, you
21   assessing the reasonableness of what the defense       21   say, informs your conclusion that the cost of
22   costs might be.                                        22   defense -- the incremental cost of defense is
23      Q         You don't know if the costs to defend     23   250,000 per claim for a total of $162 million; is
24   those 320 claims was anything close to 250,000 per     24   that true, sir?
25   claim, do you?                                         25      A      This entire affidavit informs that




                                                                              27 (Pages 102 to 105)
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                                                    106                                                         107
 1   opinion, but I was referring to a different             1   cases, what's the answer? How much per case?
 2   paragraph when I referenced the defense costs.          2      A       I'd have to pull out my calculator,
 3      Q       What paragraph are you referring to?         3   but I will just point out, Mr. Kornfeld, as I'm sure
 4      A      Paragraph 37.                                 4   you're aware, this is at the very beginning of the
 5      Q       And that says, "in the course of             5   case. And I would direct your attention to, then,
 6   defending the CVA actions brought against it" --        6   Paragraph 38, which is the continuation of that.
 7            (Whereupon, the court reporter                 7            So $3.7 million spent to date, but
 8      requested clarification.)                            8   then the reference is made to hundreds of thousands
 9   BY MR. KORNFELD:                                        9   of dollars in legal fees and production costs per
10      Q       Paragraph 37 reads, in its entirety,        10   month that the diocese anticipated it would be
11   "In the course of defending the CVA actions brought    11   incurring.
12   against it, the diocese has spent more than            12      Q       Sir, did you understand my question?
13   $3.7 million to date."                                 13      A       I did.
14            Did I read that correctly?                    14      Q       So my question asked you for what is
15      A      Yes.                                         15   the answer of $3.7 million of fees incurred as of
16      Q       The CVA actions that have been brought      16   May 29, 2020, divided by 106 cases?
17   against the diocese as of the date of your affidavit   17      A       I would have to do that calculation
18   are referenced in Paragraph 33 of your affidavit       18   with a calculator.
19   marked as Exhibit 2, correct?                          19      Q       I get approximately $34,906. Why
20      A      Yes.                                         20   don't you tell me whether that's right or wrong.
21      Q       As of the date of your affidavit,           21      A       It sounds about right.
22   which was 5/29/2020, there had been 106 cases filed    22      Q       Even though you know I wasn't a math
23   against the diocese under the CVA, correct?            23   major.
24      A      Correct.                                     24      A       I don't know that for certain.
25      Q       If you divide 3.7 million by 106            25      Q       Have you met a --

                                                    108                                                         109
 1      A      Based on how quickly you did that             1   referring to a couple of answers ago?
 2   calculation in your head, I'm beginning to think        2       A        There are two points that I was
 3   that maybe it was the case.                             3   referring to. I mentioned the first one, which I
 4      Q      Well, honestly, if I was under oath           4   believe is Paragraph 38, about the diocese expecting
 5   and you asked me if I did that under -- in my head,     5   to continue to defend these actions and conducting
 6   you know what the answer would be.                      6   discovery, hundreds of thousands of dollars in legal
 7      A      I suspected that.                             7   fees and production costs per month. And then you
 8      Q      Okay. So the answer is 34,906,                8   referenced the next area that I was going to go to,
 9   approximately; and you agree with me that sounds        9   which is Paragraph 41.
10   about right, correct?                                  10      Q        And Paragraph 41 makes, in essence,
11      A      That calculation does, yes.                  11   the same point as made in Paragraph 38, right?
12      Q      So where is the $250,000 per claim           12       A        In essence, yes.
13   referenced in your affidavit?                          13      Q        Do you discuss the cost to defend
14      A      As I indicated before, that number is        14   cases anywhere else in your May 29, 2020 affidavit
15   not referenced in this affidavit.                      15   marked as Exhibit 2?
16      Q      And what you testified to was that in        16              MR. STEPHENS: I'll object. The
17   Paragraph 41, you say -- in Paragraph 41 of your       17       document speaks for itself.
18   affidavit marked as Exhibit 2, last sentence --        18              But, Chuck, take the time you need to
19   "Finally, for those cases that are not disposed        19       review it.
20   through summary judgment or other pretrial motions,    20              THE WITNESS: That is it. At the very
21   the diocese will be forced to expend hundreds of       21       end of the document, I make reference to these
22   thousands of dollars to defend itself at trial."       22       same points without those specific numbers, but
23            Did I read that correctly?                    23       that's it.
24      A      Yes.                                         24   BY MR. KORNFELD:
25      Q      Is that the sentence that you were           25      Q        Is there anywhere in your affidavit




                                                                              28 (Pages 106 to 109)
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                                                    110                                                         111
 1   marked as Exhibit 12 where you discuss the per-claim    1   anywhere in your affidavit the per-claim cost of
 2   costs of defense?                                       2   defense. My questions were based on my division of
 3       A      Could you restate that question,             3   3.7 divided by 106.
 4   please?                                                 4            You don't discuss that in the
 5       Q      Sure.                                        5   affidavit, do you?
 6             Is there anywhere in the affidavit            6      A       I would say that I do, because I
 7   marked as Exhibit 2 that you discuss the per-claim      7   include that specific information.
 8   costs of defense?                                       8      Q       You include that information. So
 9       A      As we indicated before, or as I              9   somebody who comes along that reads your affidavit
10   pointed out, I referenced the $3.7 million spent to    10   can derive the per-claim cost of defense by dividing
11   date at the time of this affidavit.                    11   3.7 million by 106, correct?
12       Q      That's not a per-claim cost; that's a       12      A       Yes.
13   total cost of defense. I'm asking per claim. And       13      Q       Is there anywhere else in your
14   I'll ask again.                                        14   affidavit that you discuss the per-claim cost of
15             Is there anywhere in your affidavit          15   defense?
16   that you discuss the per-claim cost of defense?        16      A       I think it makes it pretty clear. I
17       A      In -- as an average? Because we've          17   reference a very specific actual dollar amount
18   already gone through this in terms of dividing the     18   incurred, and I also reference the specific number
19   3.7 million by 106.                                    19   of cases. I'm not sure there would be any other
20       Q      Either in an average or specifically.       20   information that I could include.
21       A      Then that's what you have, is the           21      Q       So the only information in your
22   $3.7 million. And at that point, at the time of        22   affidavit about per-claim cost of defense leads to a
23   this affidavit, there were 106 cases that had been     23   conclusion that as of the date of your affidavit,
24   filed.                                                 24   the per-claim cost of defense was $34,906 on average
25       Q      And, to be precise, you didn't discuss      25   per claim?

                                                    112                                                         113
 1     A        To that point, yes.                          1   activity.
 2     Q        Thank you.                                   2      Q        So that's not litigation activity, in
 3            When you spoke to Misters Rosenblum,           3   your view. If the debtor objects to a claim on any
 4   Geremia, and Stephens about the incremental costs of    4   grounds, that's not litigation activity?
 5   defense, did you ask those attorneys what the           5             Is that your opinion, sir?
 6   per-claim cost of defense had been as of the date of    6      A        I'm not -- I didn't say that. There
 7   your report, which is April 17, 2023?                   7   are certain claim objections that could start on
 8       A      No. I know that these cases have been        8   some of that, but this is -- bankruptcy and claim
 9   stayed since October 1st of 2020.                       9   objections don't follow the same rigor as it relates
10       Q      Well, there's been some claims              10   to a litigation -- state court litigation process.
11   litigation going on in the bankruptcy court, hasn't    11      Q        So you didn't look at the per-claim
12   there?                                                 12   cost of defense that has been incurred by the
13       A      Are you referring to claims                 13   diocese in the bankruptcy case in connection with
14   objections?                                            14   the opinions you provide in your report; is that
15       Q      Yes, sir.                                   15   true, sir?
16       A      Yes, there have been claim objections,      16      A        I don't believe that there have been
17   but there has not been any litigation activity         17   defense costs that have been incurred during the
18   related to these claims.                               18   Chapter 11 case.
19       Q      Well, claims objections would be            19      Q        Have you looked at any fee
20   litigation activity, wouldn't it?                      20   applications to see what the cost of all the claims
21       A      I'll give you an example. If there          21   objections has been?
22   are duplicate claims that are filed in the             22      A        I have not.
23   bankruptcy case and the debtor files a motion to       23      Q        Have you looked at any fee
24   have certain claims disallowed because they're         24   applications at all?
25   duplicates, I don't view that as litigation            25      A        Early on in the case, I recall




                                                                              29 (Pages 110 to 113)
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 1   tracking some of the fee applications for our           1   BY MR. KORNFELD:
 2   projections. But, other than that, I have not           2       Q      So let's just sum this up.
 3   looked at fee applications in a long time.              3             Paragraph 29 talks about abuse claims
 4      Q        So in connection with your report, you      4   that were filed with the IRCP, right?
 5   did not look at any fee applications for any            5       A      Yes.
 6   purpose; is that correct?                               6       Q      And, as far as you know, with respect
 7      A       That's correct.                              7   to those abuse claims, the diocese did not incur any
 8      Q        Just to sum up here, we talked about        8   cost of defense, right?
 9   Paragraphs 37 and Paragraphs 41 and Paragraphs 33 --    9       A      As far as I'm aware, once the IRCP
10   sorry, I didn't do it in order -- of your affidavit.   10   program began for those, yes.
11             My question, sir: Is there any other         11       Q      Paragraph 33, we discussed, talks
12   paragraph -- or are there any other paragraphs of      12   about 160 cases filed --
13   your declaration that you say you relied upon for      13             MR. STEPHENS: Objection. I'm sorry,
14   purposes of your report that deal with the per-claim   14       Alan. I believe -- you said "160." I believe
15   cost of litigation?                                    15       the document reflects 106.
16             MR. STEPHENS: Alan, I'll just object         16             MR. KORNFELD: You're right again.
17      that I believe you're mischaracterizing the         17   BY MR. KORNFELD:
18      witness' testimony, because I do believe the        18       Q      Paragraph 33 talks about 106 cases
19      record will show there has been testimony on        19   filed against the diocese as of May 29, 2020,
20      Paragraph 29 as well.                               20   correct?
21             MR. KORNFELD: You know, you're               21       A      Yes.
22      absolutely right. That's a good objection.          22       Q      Paragraph 37 of your affidavit talks
23             MR. STEPHENS: Thank you, Alan.               23   about the cost as of May 29, 2020, the diocese has
24             MR. KORNFELD: I wouldn't expect any          24   incurred in defending those 106 cases, correct?
25      less from you.                                      25       A      Correct.

                                                    116                                                         117
 1       Q       And Paragraph 41 talks about the            1            MR. KORNFELD: On the topic of
 2   diocese being forced to expend hundreds of thousands    2      attorneys' fees incurred and projected.
 3   of dollars to defend itself at trial if those cases     3            THE WITNESS: I don't recall if I
 4   proceed to trial, correct?                              4      would have looked at anything else at this
 5       A       Correct.                                    5      point.
 6       Q       What did you base your conclusion on        6   BY MR. KORNFELD:
 7   that the diocese would be forced to expend hundreds     7      Q      As you sit here today, in connection
 8   of thousands of dollars to defend itself at trial,      8   with your 5/29/2020 affidavit, which is referenced
 9   the conclusion that is in Paragraph 41 of your          9   as support for your expert report in this case, you
10   affidavit marked as Exhibit 2?                         10   do not recall whether you looked at any documents
11       A       If you look at that entire section         11   having to do with attorneys' fees incurred or
12   that begins on Page 14 -- this is Letter B --          12   projected; is that correct?
13   "Expenses incurred by the diocese thus far in the      13      A      That's correct.
14   CVA litigation and projected litigation expenses,"     14      Q      Where did you get the information
15   there are paragraphs that you did not mention that     15   about attorneys' fees incurred and projected that is
16   talk a little bit about some of the activities.        16   provided in your 5/29/2020 affidavit marked as
17       Q       Where did you obtain that information      17   Exhibit 2?
18   about some of the activities? Did you pull dockets,    18      A      You're referring to the 3.7 million?
19   or did you talk to attorneys?                          19      Q      Yes.
20       A       I talked to attorneys.                     20      A      That would have come from counsel.
21       Q       Did you look at any other documents in     21      Q      Is that Jones Day?
22   connection with Exhibit Number 2?                      22      A      Yes.
23              MR. STEPHENS: Objection, Alan,              23      Q      Where did you get the information
24       just -- are you asking him on this topic           24   about the number of actions that had been filed?
25       specifically or the entire affidavit?              25   Did that come from Jones Day too?




                                                                              30 (Pages 114 to 117)
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 1       A      Yes.                                         1       A     No.
 2       Q      Where did you get the information            2       Q     You didn't look at any other sexual
 3   about projected costs of cases that might go to         3   abuse bankruptcies to determine what Jones Day was
 4   trial could be in the hundreds of thousands of          4   telling you was reasonable or not?
 5   dollars?                                                5       A     Well, the bankruptcy would not be
 6             Did that come from Jones Day, too?            6   relevant. What we're talking about here is the cost
 7       A      Yes.                                         7   to defend and litigate outside of the bankruptcy.
 8       Q      Do you tell the bankruptcy court             8       Q     Well, bankruptcy might be relevant if,
 9   anywhere in your report that's been marked as           9   pre-petition, counsel had filed a claim for
10   Exhibit 1 that all of your information about           10   attorneys' fees they were owed.
11   attorneys' fees comes from Jones Day?                  11            That might be one example of
12             MR. STEPHENS: Objection.                     12   relevancy, correct?
13             THE WITNESS: As I indicated before, I        13       A     That would probably be akin to looking
14       was provided the number of $250,000 from           14   for a needle in a haystack.
15       Jones Day; however, I also sought to assess the    15       Q     Okay. So you didn't, bottom line,
16       reasonableness of that through inquiry as well     16   look at any other diocese cases to find out what the
17       as my knowledge of the litigation process. So      17   pre-petition costs of defense were, correct?
18       I did not take $250,000 blindly as a number.       18       A     I don't think it's very likely that
19   BY MR. KORNFELD:                                       19   that number would be disclosed in other diocese
20       Q      But you didn't look at any documents        20   bankruptcies.
21   that had that $250,000 in it, correct?                 21       Q     My question, sir, is, did you look at
22       A      Correct.                                    22   other diocese bankruptcies to determine if that
23       Q      And you didn't attempt to talk to any       23   number was disclosed?
24   attorneys from other firms about what Jones Day was    24       A     I did not, for the reason that I gave
25   telling you as being reasonable or not, did you?       25   you.

                                                    120                                                         121
 1      Q       So Jones Day provided information that       1   this case?
 2   was used in connection with your 5/29/2020              2       A      Other than the "Total" lines, that is
 3   affidavit, correct?                                     3   the avoidance of incremental litigation cost, the
 4      A       The $250,000 number, yes.                    4   162 million that you're referring to.
 5      Q       Oh, no, no. Listen carefully. I'm            5       Q      Thank you.
 6   asking about the 5/29/2020 affidavit, which has been    6             Let's go in your report to -- let's
 7   marked as Exhibit 2. I'll ask the question again.       7   stay on Page 9, actually. We're there.
 8   I don't want to -- this is not a "gotcha"               8             Under "Dismissal Deductions," you have
 9   deposition.                                             9   operational wind-down expense of -- on a low
10            My question, sir, is, did Jones Day           10   $6.3 million; mid, $5.4 million; and high,
11   provide the information regarding the costs incurred   11   $4.5 million.
12   and projected costs to be incurred in your 2020        12             Can you explain how you derived those
13   affidavit?                                             13   amounts, please.
14      A       Yes.                                        14       A      That's based on a period of 9 months
15      Q       Did Jones Day provide the projected         15   to realize the proceeds identified above, the
16   costs to be incurred over and above what would be      16   estimated proceeds, and it is based on a percentage
17   incurred by a settlement trust that is contained in    17   of the diocese's current operating expenses, monthly
18   your April 17, 2023 report?                            18   operating expenses.
19      A       The $250,000 number, yes.                   19       Q      What percentage is that?
20      Q       $250,000-per-claim number, which            20       A      It ranges between 25 and 35 percent.
21   equals, multiplied by 648 claims, $162 million,        21       Q      Jumping back to the incremental
22   correct?                                               22   litigation costs for one moment, the 250,000, on
23      A       Yes.                                        23   average, is over and above the cost to defend that
24      Q       What's the largest line item on the         24   would be incurred by a settlement trust, correct?
25   chart that is at Page 9 of your expert report in       25       A      Yes.




                                                                              31 (Pages 118 to 121)
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 1      Q      What is the average cost per claim            1   reach.
 2   that would be incurred by a settlement trust that       2       Q        And, again, this is a dismissal
 3   you project?                                            3   analysis of a kind that you've never done before,
 4      A      I don't include that because it's not         4   right?
 5   a relevant number. The relevant number is the           5              MR. STEPHENS: Objection.
 6   incremental amount.                                     6              THE WITNESS: Correct. I would say
 7      Q      How did you make the determination            7       this is the first time I've been in a
 8   that it wasn't a relevant number?                       8       Chapter 11 case where there has been a motion
 9      A      Similar to some of the other items            9       to dismiss filed.
10   that we've discussed in this dismissal analysis, the   10   BY MR. KORNFELD:
11   primary focus is on the incremental change.            11       Q        And this is a dismissal analysis that
12            So you had referred to a best interest        12   you've never seen anybody in any other Chapter 11
13   test. This is not comparing a Chapter 11 versus a      13   case where there has been a motion to dismiss filed
14   Chapter 7. What I'm comparing here is, and what I'm    14   used, correct?
15   focused specifically on, are the incremental costs.    15       A       Correct. I'm actually not aware of
16      Q      But if you were preparing a best             16   any other cases where motions to dismiss have been
17   interest test, you would focus on the total costs to   17   filed that the debtor did not agree with.
18   defend, correct?                                       18       Q        Have you heard of LTL?
19      A      I may.                                       19       A       I have heard of LTL.
20      Q      But you didn't here.                         20       Q        What do you -- what do you know about
21      A      Correct. Just like I mentioned on the        21   a motion to dismiss in that case?
22   insurance and also the value of the spectrum as        22       A       I'm generally aware that creditors
23   examples where I have treated those as the same        23   sought to remove that from bankruptcy.
24   under both scenarios. So what it is under each         24              (Whereupon, the court reporter
25   scenario doesn't matter for the conclusion that I      25       requested clarification.)

                                                     124                                                         125
 1            THE WITNESS: Creditors sought to               1   approximately, to 1.3 million, approximately.
 2       remove that case from bankruptcy.                   2            Did I read the right line?
 3   BY MR. KORNFELD:                                        3      A       Yes.
 4       Q      And how did they do that?                    4      Q       How did you arrive at those fees?
 5       A      Thank you for refreshing my memory,          5      A       That is based on 2 percent of the
 6   Mr. Kornfeld.                                           6   total gross liquidation proceeds above.
 7            I believe that was through a motion to         7      Q       Moving down to administrative
 8   dismiss.                                                8   expenses, which go from approximately 12.5 million
 9       Q      So you do know something about another       9   under a low scenario -- actually, they stand exactly
10   motion to dismiss that was filed in a bankruptcy       10   $12,461,162 under low, mid and high case
11   case, correct?                                         11   projections.
12       A      Yes.                                        12            First, what are those administrative
13       Q      Did any of the numerous experts in LTL      13   expenses?
14   use a dismissal analysis that is in any way similar    14      A       These are amounts -- it's made up of a
15   to the analysis that you're using in this case?        15   few categories of items, but the largest portion of
16       A      I haven't reviewed any of the               16   that is made up of expenses that have been incurred
17   documents filed in the LTL case.                       17   as part of the Chapter 11 case that were estimated
18       Q      Let's go to Page 9 of your chart that       18   to be outstanding as of the dismissal date.
19   is part of Exhibit 1.                                  19            So that includes accrued but unpaid
20            You have a line item for broker fees.         20   professional fees, post-petition accounts payable,
21   What is that?                                          21   as well as some funds held for others.
22       A      These are fees that may be paid to a        22      Q       Those dismissal deductions of
23   third party as part of realizing proceeds for these    23   administrative expenses are shown in the dismissal
24   assets.                                                24   scenario only, correct?
25       Q      And those fees go from 990,000,             25      A       No.




                                                                              32 (Pages 122 to 125)
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 1       Q      So my question was going to be, where        1   so those three items, the operational wind down
 2   are they in the Chapter 11 scenario?                    2   expense, the broker fees and the administrative
 3            And, to make it simple, I ask that             3   expenses hold in both scenarios.
 4   question because administrative expenses are showing    4      Q      Why don't you add back any of those
 5   in the "Less Dismissal Deductions" section of your      5   three rows of expenses?
 6   analysis.                                               6       A      My assumption is that, as an example,
 7       A      Correct.                                     7   on the $12.4 million in administrative expenses,
 8       Q      So my question is, why are they shown        8   those are going to get paid as part of a Chapter 11
 9   in that section only? And if they're not shown          9   plan as well.
10   only, there -- I'll put a couple of questions          10      Q      And the 990,707 for broker fees, that
11   together so you can talk about this one.               11   escalates to 1.268, they get paid as part of a
12            If they're not shown there only, where        12   Chapter 11 as well?
13   are they under the "Chapter 11 Assumption" section     13       A      I treated this, again, as somewhat
14   above?                                                 14   conservative that -- for this analysis, that those
15       A      Okay. So the way that this works in         15   costs would still be incurred. They may or may not
16   this analysis, that section less dismissal             16   in a Chapter 11. But again, to be conservative, I
17   deductions, that's the amount of cost that is          17   kept them in both the dismissal and plan scenarios.
18   subtracted from the gross estimated liquidation        18      Q      In the "Asset" section of your
19   proceeds, so the 49.5 up to 63.4 million.              19   analysis on Page 9, you show under "Cash" --
20             Now, below that. Adjustments for a           20   actually, in the Cash row, book value of
21   Chapter 11 plan, this is where I add back items that   21   $20.3 million roughly, correct?
22   would be beneficial from a Chapter 11 standpoint.      22       A      Yes.
23   So the avoidance of those incremental litigation       23      Q      Okay. And the estimated recovery for
24   costs, as an example, note that I don't add back any   24   creditors in the Chapter 11 scenario is exactly
25   of those other three dismissal deduction rows. And     25   that, $20.3 million under the three scenarios that

                                                    128                                                         129
 1   are shown on the chart on Page 9; is that correct?      1   proposal. The diocese has one plan on file right
 2       A      Yes.                                         2   now, and that has a provision for how much cash
 3       Q      How much working capital does the            3   would be retained by the diocese.
 4   diocese retain under your analysis as opposed to        4            In order to show, just for this
 5   cash that is available for creditor recoveries?         5   analysis, the amount of or the value of assets that
 6       A      There are a couple of parts to that          6   could be available to claimants, I have used
 7   answer. In the diocese's plan, one of the elements      7   100 percent of the cash balance.
 8   is that any cash in excess of $10 million would go      8       Q      That 100 percent of the cash balance
 9   to the settlement trust. So that is how the plan is     9   is not what the diocese is proposing to make
10   currently worded. In this scenario, because, again,    10   available to creditors under its plan, correct?
11   I'm looking at the assets that could be available      11       A      That is correct.
12   under a plan versus a dismissal scenario, I'm not      12       Q      In fact, if we use the cash analysis
13   specifically addressing how much cash the diocese      13   that is part of the plan, that cash analysis
14   would retain.                                          14   involves $10 million of working capital being
15             This is an asset that could be               15   retained by the diocese for its operations, correct?
16   available under a plan scenario as well as a           16       A      Yes.
17   dismissal scenario. So there are two aspects that I    17       Q      And that $10 million that is being
18   looked at as it relates to cash.                       18   retained by the diocese for its operations is not
19       Q      If I understand, that 20.347439 of          19   reflected on your Chapter 11 scenario that is part
20   cash could be available to creditors under your        20   of Page 9 of Exhibit 1, correct?
21   analysis that is contained on Page 9 of your report.   21       A      Correct. There -- just to be clear,
22             Did I get that right?                        22   again, there are other aspects of the plan that the
23       A      What I want to be very clear about is       23   diocese has filed that are not reflected here.
24   the numbers that appear here are not in any way        24       Q      So you're -- you're not trying to
25   trying to present a plan structure or a plan           25   show, with respect to the chart that is on Page 9,




                                                                              33 (Pages 126 to 129)
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 1   what creditors are projected to recover under the       1       A      Yes, PSIP's cash is in that projected
 2   diocese plan, correct?                                  2   cash balance.
 3       A      Correct. And as we've been talking           3       Q      And again, for the record, what is
 4   about, this is not a best interest test. This also      4   PSIP?
 5   is not comparing the diocese's plan that's on file      5       A      That stands for "protected
 6   with a dismissal. This is just comparing a plan         6   self-insurance program."
 7   scenario with a dismissal scenario.                     7       Q      What is that?
 8       Q      Did you analyze the recovery for             8       A      That is -- it's not a separate entity
 9   creditors in the event the diocese's Chapter 11 plan    9   at the diocese. It's part of the debtor, and it is
10   was confirmed?                                         10   a department that facilitates insurance.
11       A      And by "recovery," are you referring        11             At this point, it is primarily focused
12   to dollar amounts or percentages?                      12   on runoff of old Worker's Compensation claims as
13       Q      Both.                                       13   well as placing coverage for property and casualty
14       A      I have not done that analysis based on      14   and auto and various types of general liability
15   the diocese's plan.                                    15   insurance for the diocese and other
16       Q      And you didn't do that analysis             16   Catholic-affiliated organizations, non-debtor
17   assuming a Chapter 7 liquidation of the diocese,       17   organizations.
18   correct?                                               18       Q      How much cash do you assume that PSIP
19       A      In terms of what the recovery would be      19   contributes to the cash line items that are on
20   if the diocese converted to a Chapter 7?               20   Page 9?
21       Q      Yes, sir.                                   21       A      In that amount, the 20.3 million
22       A      That's correct. I did not.                  22   projected as of May 31st, I believe that the PSIP
23       Q      Is PSIP accounted for under any of the      23   cash was projected to be in the $10 million range.
24   line items that are contained on the chart on Page 9   24       Q      Do you make assumptions about Ecclesia
25   of your report?                                        25   in connection with your analysis that is on Page 9?

                                                    132                                                         133
 1       A       I do include an assumption around           1   BY MR. KORNFELD:
 2   Ecclesia. I believe it's on the prior -- two pages      2       Q      Did you reach a conclusion about that?
 3   before it, Page 7.                                      3       A      No.
 4      Q       And with reference to Page 7, which is       4       Q      Do you have any opinion about whether
 5   absolutely fine, can you tell us what that              5   those distributions and/or dividends may be made?
 6   assumption is?                                          6       A      I know that both the debtor and
 7       A       Ecclesia is a captive insurance             7   committee have discussed a special dividend from
 8   company owned by the debtor. I don't have an amount     8   Ecclesia. I think the debtor has indicated that it
 9   included in this analysis because, again, I've          9   is supportive of pursuing that. The question really
10   treated this as, if it is marketed for sale, under     10   revolves around whether the state insurance agency
11   either a plan scenario or a dismissal scenario, that   11   would allow that dividend to occur.
12   the proceeds from a sale would be the same.            12       Q      Do you know what the available surplus
13             I highlight here that there may be           13   from Ecclesia, that could be used to fund a dividend
14   significant challenges to actually trying to sell      14   to the diocese, is?
15   Ecclesia as a going concern. And I also -- I don't     15       A      I don't know Ecclesia's cash position
16   mention this here, but I just want to highlight,       16   today, nor do I know, as I indicated, what amount
17   similar to our conversation around cash, I know that   17   the state insurance agency would allow for a
18   the debtor's plan contemplates something               18   dividend if they would allow it.
19   specifically on Ecclesia.                              19       Q      Why do you say in your Note I on
20      Q       Did you look into the availability of       20   Page 7 of your report that there is some prospect
21   whether distributions and/or dividends due can be      21   for a dividend by Ecclesia through a consensual
22   made by a captive insurance company?                   22   Chapter 11 plan, but there's no clear path to
23       A       Yes.                                       23   monetization and dismissal except for perhaps a loss
24             (Whereupon, the court reporter               24   portfolio transfer to a third party?
25       requested clarification.)                          25             (Whereupon, the court reporter




                                                                              34 (Pages 130 to 133)
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 1      requested clarification.)                            1   dismissal scenario?
 2            THE WITNESS: Ecclesia provided                 2       A      I also indicate that it's a
 3      insurance related to sex abuse claims. To the        3   conservative assumption. I believe that the
 4      extent that there is a dismissal scenario,           4   uncertainty associated with the dismissal would make
 5      there's a question as to how and when Ecclesia       5   it more difficult to get approval for a special
 6      would pay on those claims.                           6   dividend.
 7            So it is unclear in a dismissal                7       Q       Have you done any analysis of whether
 8      scenario how, number one, payments from              8   that's the case?
 9      Ecclesia would occur. And because of the             9       A      Whether a dividend under a dismissal
10      ongoing exposure, I think that that makes it        10   scenario...
11      much more difficult for the state insurance         11       Q       Would be -- would be more difficult
12      agency to be supportive or allow for a              12   than under a plan scenario?
13      dividend, given the uncertainty, that would         13       A      Based on conversations that I've had
14      otherwise be resolved presumably in a               14   with my colleague, James McDermott, as well as the
15      consensual Chapter 11 plan.                         15   diocese's insurance person, William Chapin, and
16   BY MR. KORNFELD:                                       16   outside insurance -- the insurance broker,
17      Q       In your last sentence under Note I on       17   conversations with those individuals, this has been
18   Page 7, you say, "The outcome" -- and you're           18   discussed.
19   referring, when you say "the outcome," to              19       Q       Have there been any conclusions that
20   monetization of Ecclesia assets that could be used     20   have been discussed other than they might be the
21   as a dividend, correct?                                21   same, but dismissal might be more difficult?
22            Is that what you're referring to?             22       A      That's the general conclusion.
23      A       Yes.                                        23             THE COURT REPORTER: Alan, when you
24      Q       Why do you say that outcome is likely       24       get to a good point, can we take 5 minutes,
25   similar in both a Chapter 11 scenario and a            25       please?

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 1             MR. KORNFELD: Sure. Let's do it now.          1            Whether there would be any additional
 2             (Whereupon, a short break was taken.)         2   cash that would be required beyond what I've
 3             MR. STEPHENS: A rough today and a             3   contemplated here, it would have to depend on what
 4      final tomorrow would be great.                       4   the specific scenario would be as to how or if the
 5             MR. KORNFELD: Let's go back on the            5   diocese was operating after the dismissal.
 6      record.                                              6      Q       How much in operation capital did you
 7   BY MR. KORNFELD:                                        7   assume that the diocese would need after dismissal
 8      Q       Do you have Page 9 of Exhibit 1, your        8   up to the 9-month liquidation date after the order
 9   report, in front of you, sir?                           9   of dismissal?
10      A       Yes.                                        10      A      That's the 4.5 to $6.3 million range.
11      Q       Do you recall when we talked about          11      Q       And that is the operational wind-down
12   cash, we talked about the plan providing for the       12   expense?
13   diocese to retain $10 million for working capital?     13      A      Correct.
14      A       Yes.                                        14      Q       And that, in essence, is a working
15      Q       Under a dismissal scenario, would the       15   capital need for whatever operational expenses there
16   diocese need working capital to continue to operate    16   are for that 9-month period, correct?
17   up to the dismissal date, which is 9 months away?      17      A      That's right.
18      A       The dismissal analysis that I have          18      Q       Did the debtors prepare, to your
19   prepared here on Page 9 only contemplates what would   19   knowledge, a Chapter 7 liquidation analysis?
20   be necessary, first of all, to pay liabilities -- as   20      A      No.
21   we talked about -- the administrative expenses that    21      Q       Did A & M prepare a Chapter 7
22   are estimated to be incurred at that point and then    22   liquidation analysis for the debtors?
23   some costs as it relates to continued employee         23      A      No.
24   obligations, as an example. So I subtract that         24      Q       Did anybody, to your knowledge,
25   already.                                               25   prepare a Chapter 7 liquidation analysis for the




                                                                              35 (Pages 134 to 137)
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 1   debtor?                                             1
                                                                    CERTIFICATION OF WITNESS
 2     A       No.                                       2
                                                             ASSIGNMENT REFERENCE NO: 994857
 3            MR. KORNFELD: I have no further            3   NAME OF CASE: In re: Roman Catholic Diocese
                                                             DATE OF DEPOSITION: June 27, 2023
 4     questions at this time.                           4   WITNESS: Charles Moore
 5            MR. STEPHENS: Thank you, Alan. Other                  In accordance with the Rules of Civil
                                                         5   Procedure, I have read the entire transcript of my
 6     than noting for the record that the witness           testimony or it has been read to me.
                                                         6          I have listed my changes on the attached
 7     will read and sign the transcript, I have no          Errata Sheet, listing page and line numbers as well
 8     questions either.                                 7   as the reason(s) for the change(s).
                                                                    I request that these changes be entered as
 9            MR. KORNFELD: Thank you so much, sir.      8   part of the record of my testimony.
                                                                    I have executed the Errata Sheet, as well
10     We appreciate it.                                 9   as this Certificate, and request and authorize that
11            THE COURT REPORTER: Alan, would you       10
                                                             both be appended to the transcript of my testimony
                                                             and be incorporated therein.
12     like the rough copy?                             11   ________________ ___________________________
                                                             Date                Charles Moore
13            MR. KORNFELD: I'd like a rough today      12
                                                                    Sworn to and subscribed before me, a
14     and a final tomorrow.                            13   Notary Public in and for the State and County, the
15            THE COURT REPORTER: You got it.                referenced witness did personally appear and
                                                        14   acknowledge that:
16            MR. KORNFELD: We can go off the                       They have read the transcript;
                                                        15          They have listed all of their corrections
17     record. Thank you, Jamie.                             in the appended Errata Sheet;
18            (Whereupon, the deposition concluded      16
                                                             and
                                                                    They signed the foregoing Sworn Statement;

19     at 3:55 p.m.)                                    17          Their execution of this Statement is of
                                                             their free act and deed.
20                                                      18          I have affixed my name and official seal
21                                                      19
                                                        20
                                                             this_______day of__________________, 20________.

22                                                                ___________________________
                                                        21        Notary Public
23                                                      22
24                                                                ____________________________
                                                        23        Commission Expiration Date
25                                                      24
                                                        25


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 1          DEPOSITION ERRATA SHEET                      1                      CERTIFICATE
 2   Page Line     From     to                           2
 3   ________________________________________________    3                I, Jamie I. Moskowitz, a Shorthand
 4   ________________________________________________    4       (Stenotype) Reporter and Notary Public, do hereby
 5   ________________________________________________    5       certify that the foregoing Deposition, of the
 6   ________________________________________________    6       witness, Charles Moore, taken at the time and place
 7   ________________________________________________    7       aforesaid, is a true and correct transcription of my
 8   ________________________________________________    8       shorthand notes.
 9   ________________________________________________    9                I further certify that I am neither
10   ________________________________________________   10       counsel for nor related to any party to said action,
11   ________________________________________________   11       nor in any way interested in the result or outcome
12   ________________________________________________
                                                        12       thereof.
13   ________________________________________________
                                                        13                IN WITNESS WHEREOF, I have hereunto set
                                                        14       my hand this ______ day of_____________, 2023.
14   ________________________________________________
                                                        15
15   ________________________________________________
                                                        16                  ___________________________________
16   ________________________________________________
                                                        17                  Jamie Ilyse Moskowitz
17   ________________________________________________
                                                                            License No. XI01658
18   ________________________________________________   18
19   ________________________________________________   19
20   ________________________________________________   20
21   ________________________________________________   21
22   ________________________________________________   22
23   ________________________________________________   23
24   ________________________________________________   24
25   SIGNATURE:_______________________DATE:__________   25




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